Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 1 of 121 PagelD #: 210
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

5. Click the group name for the MAC ACL that you want to set up.

~ Management

Management
Group Name ©

Import MAC Address List © Replace ®) Merge

| Browse File | No MAC list file chosen

ACL Policy ®) Allow Deny
Trusted Stations Available Stations &
Select-all Search.. ~ Select-all Y
No Station Found Sie 50-6A-03-80-51-01 Connected
50-6A-03-80-51-02 Connected

50-6A-03-80-51-03 Connected

> Guest
> Guest

> Custom

The previous figure shows some examples. Devices in the Available Stations table

are automatically detected by the access point and are common to all MAC ACLs,

which allows you to add a device to more than one MAC ACL. A neighboring station
displays as Neighbor and a connected station displays as connected.

6. To change the group name, enter a new name in the Group Name field.

The default group names for the eight MAC ACLs are Management, Guest, Guest1,
Custom, Custom 1, Custom 2, Custom 3, and Custom 4.

7. Select the ACL Policy Allow or Deny radio button.

If you select the Allow radio button, a WiFi device for which you place the MAC
address in the ACL is allowed access to the WiFi network, but all other WiFi devices
are denied access to the WiFi network.

If you select the Deny radio button, a WiFi device for which you place the MAC
address in the ACL is denied access to the WiFi network, but all other WiFi devices
are allowed access to the WiFi network.

 

Manage Access and Security 120 User Manual
Case 1:21-cv-01119-UNA Document1-7 Filed 07/30/21 Page 2 of 121 PagelD #: 211

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

8. Compose the ACL in the following way:

e Foran ACL for which you selected the Allow radio button in Step 7, do the
following:

To manually add a device to the Trusted Stations table, enter the MAC address
in the format 00-00-00-00-00-00 in the field below the Trusted Stations table,
and click the Add button.

The device is added to the Trusted Stations table.

To move a device from the Available Stations table to the Trusted Stations
table, select the check box for the device and click the << Move button.
You can search the Available Stations table. You can also filter devices in the
Available Stations table by clicking the filter icon.

To remove a device from the Trusted Stations table, select the check box for
the device and click the Remove button.

You can search the Trusted Stations table.

When you remove a device from the Trusted Stations table, after the access
point redetects the device, the device is once again placed in the Available

Stations table.

e Foran ACL for which you selected the Deny radio button in Step 7, do the
following:

To manually add a device to the Untrusted Stations table, enter the MAC
address in the format 00-00-00-00-00-00 in the field below the Untrusted
Stations table, and click the Add button.

The device is added to the Untrusted Stations table.

To move a device from the Available Stations table to the Untrusted Stations
table, select the check box for the device and click the << Move button.
You can search the Available Stations table. You can also filter devices in the
Available Stations table by clicking the filter icon.

To remove a device from the Untrusted Stations table, select the check box
for the device and click the Remove button.

You can search the Untrusted Stations table.

When you remove a device from the Untrusted Stations table, after the access
point redetects the device, the device is once again placed in the Available
Stations table.

9. Click the Apply button.
Your settings are saved.

For more information about applying an ACL to a WiFi network, see Select a MAC
ACL for a WiFi network on page 64.

 

Manage Access and Security 121 User Manual
Case 1:21-cv-01119-UNA Document1-7 Filed 07/30/21 Page 3 of 121 PagelD #: 212

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

WiFi devices in the Trusted Stations table can access the WiFi network to which you
apply the ACL. WiFi devices in the Untrusted Stations table cannot access the WiFi
network to which you apply the ACL.

Import an existing MAC access control list

You can import an existing access control list (ACL) that is based on up to 256 MAC
addresses. You can import the list into any MAC ACL, but the MAC addresses on the
list are available only for the MAC ACL into which you import the list. That is, if you want
to use the same list in another MAC ACL, you must also import the list into that MAC
ACL.

The file with MAC addresses must be in the following format:

Entries in the file must be MAC addresses only in hexadecimal format with each octet
separated by a hyphen, for example 00-11-22-33-44-55.

You must separate entries with a comma.

The file must be in text format (that is, with a .txt or .cfg extension).

You can use a MAC ACL to control which WiFi devices can access a WiFi network. You
can apply a MAC ACL to more than one WiFi network.

To import an existing MAC ACL:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

 

Manage Access and Security 122 User Manual
Case 1:21-cv-01119-UNA Document1-7 Filed 07/30/21 Page 4 of 121 PagelD #: 213
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

4. Select Management > Configuration > Security > MAC ACL.

5. Click the group name for the MAC ACL that you want to set up.

‘ Management

Group Name

Import MAC Address List

ACL Policy

Trusted Stations

Select-all

No Station Found

> Guest
> Guestl

> Custom

Management

Replace (®) Merge

| Browse File | No MAClist file chosen

®) Allow Deny

Available Stations &

Select-all

50-6A-03-80-51-01

50-6A-03-80-51-02

50-6A-03-80-51-03

Connected

Connected

Connected

The previous figure shows some examples. Devices in the Available Stations table
are automatically detected by the access point and are common to all MAC ACLs,
which allows you to add a device to more than one MAC ACL. A neighboring station
displays as Neighbor and a connected station displays as connected.

. To change the group name, enter a new name in the Group Name field.

The default group names for the eight MAC ACLs are Management, Guest, Guest1,
Custom, Custom 1, Custom 2, Custom 3, and Custom 4.

. Select the ACL Policy Allow or Deny radio button.

If you select the Allow radio button, a WiFi device for which you import the MAC
address into the ACL is allowed access to the WiFi network, but all other WiFi devices
are denied access to the WiFi network.

If you select the Deny radio button, a WiFi device for which you import the MAC
address into the ACL is denied access to the WiFi network, but all other WiFi devices
are allowed access to the WiFi network.

8. To download a sample of a MAC ACL in the format that is required for importing,

click the Download Sample link.

 

Manage Access and Security 123

User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 5 of 121 PagelD #: 214
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

9. Import and compose the ACL in the following way:

e Foran ACL for which you selected the Allow radio button in Step 7, do the
following:

a. Replace or merge the MAC addresses in the import list with the MAC
addresses in the Trusted Stations table (if any are already in the table) by
selecting one of the following radio buttons:

- Replace. MAC addresses in the Trusted Stations table are replaced with
the ones in the import list.

- Merge. MAC addresses in the Trusted Stations table are merged with the
ones in the import list.

b. Click the Browse button and navigate to and select the import file.
The MAC addresses on the import list are placed in the Trusted Stations table.

c. To remove a MAC address from the Trusted Stations table, select the MAC
address and click the Remove button.
You can search the Trusted Stations table.
When you remove a device from the Trusted Stations table, after the access
point redetects the device, the device is once again placed in the Available
Stations table.

e Foran ACL for which you selected the Deny radio button in Step 7, do the
following:

a. Replace or merge the MAC addresses in the import list with the MAC
addresses in the Untrusted Stations table (if any are already in the table) by
selecting one of the following radio buttons:

- Replace. MAC addresses in the Untrusted Stations table are replaced with
the ones in the import list.

- Merge. MAC addresses in the Untrusted Stations table are merged with
the ones in the import list.

b. Click the Browse button and navigate to and select the import file.
The MAC addresses on the import list are placed in the Untrusted Stations
table.

c. Toremove a MAC address from the Untrusted Stations table, select the MAC
address and click the Remove button.
You can search the Untrusted Stations table.
When you remove a device from the Untrusted Stations table, after the access
point redetects the device, the device is once again placed in the Available
Stations table.

 

Manage Access and Security 124 User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 6 of 121 PagelD #: 215
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

10. Click the Apply button.

Your settings are saved. For information about manually adding MAC addresses to
those in the Trusted Stations table or Untrusted Stations table, see Manually set up
a MAC access control List on page 118.

For more information about applying an ACL to a WiFi network, see Select a MAC
ACL for a WiFi network on page 64.

WiFi devices in the Trusted Stations table can access the WiFi network to which you
apply the ACL. WiFi devices in the Untrusted Stations table cannot access the WiFi
network to which you apply the ACL.

Manage user accounts

User accounts provide either read/write or read-only access to the local browser interface
of the access point. You can add, change, or delete user accounts. You cannot delete
or change the default admin user account except for the password.

The following sections describe how you can manage user accounts:

e Add a user account

e Change the settings for a user account
e Remove auser account

For information about changing the password for the default admin user account, see
Change the admin user account password on page 172.

Add a user account

To add a user account:

1. Opena web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

 

Manage Access and Security 125 User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 7 of 121 PagelD #: 216
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Configuration > System > Advanced > User Accounts.

User Name © Password Privilege

a] admin vaneenene Read-Write

Session Timeout

Hours:

Minutes: 45

5. Click the add user account icon.
Additional fields and a menu display.

6. Specify the settings for the new user account:

e User Name. Enter a user name.

e Password. Enter a password between 8 and 64 characters in length. The password
must contain at least one uppercase letter, one lowercase letter, and one number.
The following special characters are allowed:
1L@#$%*&*()

e Privilege. From the menu, select Read-Write or Read-Only.

e Session Timeout. Use the Hours and Minutes fields to specify the period after
which a session automatically expires and the user must log in again.
By default, a session expires after 45 minutes.

7. Click the Apply button.
Your settings are saved.

 

Manage Access and Security 126 User Manual
Case 1:21-cv-01119-UNA Document1-7 Filed 07/30/21 Page 8 of 121 PagelD #: 217

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Change the settings for a user account

You cannot change the access privilege for the default admin user account.

To change the user name, password, or access privilege for a user account:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

Select Management > Configuration > System > Advanced > User Accounts.
The existing user accounts display.

To the right of the user account, change the existing settings as needed:

e User Name. Enter another user name.

e Password. Enter another password between 8 and 64 characters in length. The
password must contain at least one uppercase letter, one lowercase letter, and
one number. The following special characters are allowed:
1L@#$%*~&*()

e Privilege. From the menu, select Read-Write or Read-Only.

e Session Timeout. Use the Hours and Minutes fields to specify the period after
which a session automatically expires and the user must log in again.
By default, a session expires after 45 minutes.

Click the Apply button.
Your settings are saved.

 

Manage Access and Security 127 User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 9 of 121 PagelD #: 218
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Remove a user account

You can remove a user account that you no longer need. You cannot remove the default
admin user account.

To remove a user account:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

4. Select Management > Configuration > System > Advanced > User Accounts.
The existing user accounts display.

5. Click the X to the right of the user account.
A pop-up warning window opens.

6. Click the Delete button.
The pop-up windows closes and the user account is removed.

Manage neighbor AP detection

The access point can detect neighbor access points (APs) and you can classify them as
known APs.

 

Manage Access and Security 128 User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 10 of 121 PagelD #: 219
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If you enable neighbor AP detection, the access point continuously scans the WiFi
network, collects information about all access points on the channels, and maintains a
list of access points it detects in the area. Initially all detected access points are displayed
in the Unknown AP List. You can add access points that you are familiar with to the
Known AP List. You can also import a list of known access points in the Known AP List.

Access points in the Unknown AP List require further investigation. They
could be rogue access points, which use the SSID of a legitimate network. These types
of access points can present a serious security threat.

The following sections describe how you can manage neighbor AP detection and add
neighbor access points to the Known AP List:

e Enable neighbor access point detection and move access points to the Known AP
List
e Import an existing neighbor access point list in the Known AP List

Enable neighbor access point detection and move access
points to the Known AP List

The access point can detect neighbor access points (APs) and lets you classify them as
known APs. After you enable neighbor AP detection, the access point maintains a list
of access points it detects in the area. Initially all detected access points are displayed
in the Unknown AP List. You can manually move access points from the Unknown AP
List to the Known AP List.

By default neighbor access point detection is disabled.

To enable neighbor access point detection and move detected access points to
the Known AP List:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

 

Manage Access and Security 129 User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 11 of 121 PagelD #: 220
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Configuration > Security > Neighbor AP.
The page that displays lets you select the radio band (2.4GHz or 5GHz).

5. Click the > button to the left of the radio band.
The Neighbor AP page displays for the selected radio band.

6. Select the Enable Neighbor AP check box.

7. Click the Apply button.
Your settings are saved. Neighbor AP detection is now enabled.

v 2.4GHz

Enable Neighbor GB
AP

Detection Policy mild [|

Known
AP List

Import Known -) Replace Browsakile. |
APList @ @® Merge

 

No AP list file chosen

oO MAC Address. SsID Channel RSSI

  

8. From the Detection Policy menu, select the scan method:

e Mild. The access point scans for neighbor access points every 15 minutes. This
is the default setting.

e Moderate. The access point scans for neighbor access points every 5 minutes.

e Aggressive. The access point scans for neighbor access points every 1 minute.

 

Manage Access and Security 130 User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 12 of 121 PagelD #: 221
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

9. To move access points from the Unknown AP List to the Known AP List, do the
following:

a. Click the Unknown AP List tab.

Unknown AP
List

MAC Address “ssid Channel RSSI
| 60-00-00-00-00-00 — SimplePresenceNetwork a 30
A0-00-00-00-00-00 SuperBeam 5 94
B0-00-00-00-00-00  RMCS-Farms 5 1
| FA-00-00-00-00-00 af 69

FA-00-00-00-00-00 2 ao

=
b. Ifno access points display, click the Refresh button.
c. Select the check boxes for the access points that you are familiar with.
d. Click the << Move to Known AP List button.
e. Click the Known AP List tab.

The selected access points display in the Known AP List.

Note: You can delete access points from the Known AP List. After being detected,
these access points once more display in the Unknown AP List.

10. Click the Apply button.
Your settings are saved.

Import an existing neighbor access point list in the Known
AP List

You can importa list with MAC addresses of known neighbor access points in the Known
AP List.

The file with MAC addresses must be in the following format:

e Entries in the file must be MAC addresses only in hexadecimal format with each octet
separated by a hyphen, for example 00-11-22-33-44-55.

e You must separate entries with a comma.

e The file must be in text format (that is, with a .txt or . cfg extension).

 

Manage Access and Security 131 User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 13 of 121 PagelD #: 222

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

For information about enabling neighbor AP detection, see Enable neighbor access
point detection and move access points to the Known AP List on page 129.

To import a list with MAC addresses of known neighbor access points in the Known
AP List:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.
The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

Select Management > Configuration > Security > Neighbor AP.
The page that displays lets you select the radio band (2.4GHz or 5GHz).

 

Manage Access and Security 132 User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 14 of 121 PagelD #: 223
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

5. Click the > button to the left of the radio band.

¥ 2.4GHz

Enable Neighbor 8
AP

 

Detection Policy mild [|
Known
AP List
Import Known _) Replace Browse File Download Sample
APList @ (@) Merge No AP list file chosen
L] MAC Address SSID Channel RSSI
Delet
ss
————d

 

6. To download a sample of an AP list in the format that is required for importing in
the Known AP List, click the Download Sample link.
7. Import and compose the Known AP List in the following way:

a. Replace or merge the MAC addresses in the import list with the MAC addresses
in the Known AP List by selecting one of the following radio buttons:

e Replace. MAC addresses in the Known AP List are replaced with the ones in
the import list.

e Merge. MAC addresses in the Known AP List are merged with the ones in the
import list.

b. Click the Browse button and navigate to and select the import file.
The MAC addresses on the import list are placed in the Known AP List.

c. To remove a MAC address from the Known AP List, select the MAC address and
click the Delete button.
When you remove a device from the Known AP List, after the access point
redetects the device, the device is once again placed in the Known AP List.

8. Click the Apply button.
Your settings are saved.

 

Manage Access and Security 133 User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 15 of 121 PagelD #: 224
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Set up RADIUS servers

If you use WPA2 Enterprise security or a RADIUS MAC ACL, you must set up RADIUS
servers for authentication, accounting, or both authentication and accounting using
RADIUS. You must set up primary IPv4 servers and you can set up secondary |Pv4 servers.
These RADIUS server settings apply either to all WiFi networks that use WPA2 Enterprise
security (see Set up an open or secure WiFi network on page 45) or to all WiFi networks
that use a RADIUS MAC ACL.

Note: WPA2 Enterprise security and a RADIUS MAC ACL are mutually exclusive. If you
want to use a RADIUS MAC ACL for a WiFi network, select a different type of WiFi security

(see Set up an open or secure WiFi network on page 45). If you want to use WPA2
Enterprise security for a WiFi network, use a local MAC ACL (see Manage local MAC

access control lists on page 118).

If you use a RADIUS MAC ACL, you must define the ACL on the RADIUS server, using
the format in the following example for client MAC addresses in the RADIUS server: If
the client MAC address is 00:0a:95:9d:68:16, specify it as 000a959d6816 in the RADIUS
server.

To set up RADIUS servers:

1. Opena web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

 

Manage Access and Security 134 User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 16 of 121 PagelD #: 225
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

4. Select Management > Configuration > Security > RADIUS Settings.

IPv4 Address Port Password

*, . . 1812 jé=$seeeeseeees
Primary Authentication Server

— 1812s @eeeeeeeeees
Secondary Authentication Server

, . 1813 es eeeeecece
Primary Accounting Server

i 1813 = @eeeeesececs
Secondary Accounting Server

Authentication Settings

Reauthentication Time Update Global Key [J

3600 1800

5. For each RADIUS server that you want to set up, configure the following settings:

e IPv4 Address. Enter the IPv4 address of the RADIUS server. The access point
must be able to reach this IP address.

e Port. Enter the number of the UDP port on the access point that is used to access
the RADIUS server. For authentication servers, the default port number is 1812.
For accounting servers, the default port number is 1813.

e Password. Enter the password (shared key) that is used between the access point
and the RADIUS server during the authentication or accounting process. By
default, the password is sharedsecret.

6. Configure the following authentication settings, which apply to all RADIUS server
that you set up:

e Reauthentication time. Enter the interval in seconds after which the supplicant
(the WiFi client) must be reauthenticated with the RADIUS server. The default
interval is 3600 seconds (1 hour). Enter 0 to disable reauthentication.

e Update Global Key. Select the check box to allow the global key update, and
enter the interval in seconds. The check box is selected by default, and the default
interval is 1800 seconds (30 minutes). Clear the check box to prevent the global
key update.

7. Click the Apply button.
Your settings are saved.

 

Manage Access and Security 135 User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 17 of 121 PagelD #: 226

6

Manage the Local Area Network
and IP Settings

 

This chapter describes how you can manage the local area network (LAN) and IP settings
of the access point.

The chapter includes the following sections:

e Disable the DHCP client and configure a LAN or WAN IP address
e Enable the DHCP client

e Set the 802.10 VLAN and management VLAN

e AP mode only: Specify an existing domain name

e Enable or disable Soanning Tree Protocol

e Enable or disable the network integrity check function

e Enable or disable IGMP snooping
e Enable or disable Ethernet LLDP

e Enable or disable UPnP
e Router mode only: Manage DHCP servers

 

136
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 18 of 121 PagelD #: 227
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Disable the DHCP client and configure a LAN
or WAN IP address

By default, the DHCP client of the access point is enabled and the access point receives
an IP address from a DHCP server in your network.

How your access point receives its IP address depends on whether it functions in AP
mode (which is the default system mode) or Router mode:

e AP mode. The access point receives a LAN IP address from a DHCP server (or a
router that functions as a DHCP server) in your network. If your network does not
include a DHCP server or you prefer to specify a fixed (static) LAN IP address, disable
the DHCP client of the access point.

e Router mode. The access point receives a WAN IP address from your Internet
provider. Although it is highly unlikely that you must disable the DHCP client when
the access point functions in Router mode, you can do so and specify either a fixed
(static) WAN IP address or a PPPoE WAN IP address for the WAN PoE port.

For more information, see the following sections:

e AP mode: Disable the DHCP client and specify a fixed IP address
e Router mode: Disable the DHCP client and specify a fixed WAN IP address

e Router mode: Specify WAN Point-to-Point Protocol over Ethernet settings

AP mode: Disable the DHCP client and specify a fixed IP
address

To disable the DHCP client and specify a fixed IP address if the access point
functions in AP mode:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

 

Manage the Local Area Network 137 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 19 of 121 PagelD #: 228
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Configuration > IP > LAN.

The page that displays lets you specify the LAN settings, but the fields are masked
because the DHCP client is enabled.

5. Select the Disable radio button.

DHCP Client
Enable (@)Disable
IP Address Subnet Mask Gateway

192.168.100.113 255.255.255.0 192.168.100.1

Primary DNS Secondary DNS

192.168.100.1 0.0.0.0

802.1Q VLAN
Untagged VLAN a Management VLAN

1

Fully Qualified Domain Name

 

6. Specify the settings that are described in the following table.

Setting Description
IP Address IP address in the range that is used by your LAN.
Subnet Mask The subnet mask must be compatible with your LAN. (The subnet mask is usually

255.255.255.0).

Gateway IP address of the gateway on your LAN.
Primary DNS IP address of the primary Domain Name System (DNS) server on your LAN.
Secondary DNS IP address of the secondary DNS server on your LAN, or leave this field blank.

7. Click the Apply button.
Your settings are saved. The access point restarts with the new IP settings.

 

Manage the Local Area Network 138 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 20 of 121 PagelD #: 229

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Router mode: Disable the DHCP client and specify a fixed
WAN IP address

To configure a fixed (static) IP address connection, you need the IP address information
that your Internet service provider (ISP) gave you when you signed up for the Internet
service.

To disable the DHCP client and specify a fixed WAN IP address if the access point
functions in Router mode:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

Select Management > Configuration > IP > WAN.
The page that displays lets you specify the WAN settings.

 

Manage the Local Area Network 139 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 21 of 121 PagelD #: 230
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

5. From the WAN Interface Type menu, select Static.

IPv4 Settings

WAN Interface Type WAN Interface IP Address:
Static \~ WAN (Ethernet Port) 192.168.100.164

Subnet Mask Gateway Primary DNS

255.255,255.0 192,.168.100.1 192,168.100.1

Secondary DNS

0.0.0.0

 

The page also displays the WAN Interface field, which is fixed at WAN (Ethernet
Port).

6. Specify the settings that are described in the following table.

Setting Description
IP Address IP address in the range that is used by your Internet modem.
Subnet Mask The subnet mask must be compatible with your Internet modem. (The subnet mask

is usually 255.255.255.0.)

Gateway IP address of the gateway that is used by your Internet modem.
Primary DNS IP address of the primary DNS server that is used by your Internet modem.
Secondary DNS IP address of the secondary DNS server that is used by your Internet modem, orleave

this field blank.

7. Click the Apply button.

Your settings are saved. The access point restarts with the new IP settings and
establishes a connection with your ISP. This process might take a while.

Router mode: Specify WAN Point-to-Point Protocol over
Ethernet settings

To configure a WAN Point-to-Point Protocol over Ethernet (PPPoE) connection, you
need the PPPoE login information that your Internet service provider (ISP) gave you
when you signed up for the Internet service.

 

Manage the Local Area Network 140 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 22 of 121 PagelD #: 231

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

To specify the WAN PPPoE settings if the access point functions in Router mode:

     

 

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message
and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.
If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over
WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).
The Dashboard page displays.
4. Select Management > Configuration > IP > WAN.
The page that displays lets you specify the WAN settings.
5. From the WAN Interface Type menu, select PPPoE.
IPv4 Settings
WAN Interface Type
PPPoE ‘=|
Service Name User Name Password
Auto
Connection Mode
‘om Connection Status:
Auvomanic [=] Disonnected
WAN Interface IP Address Subnet Mask
WAN (Ethemet Part) 197.168.100.164 255.255.255.0
Gateway Primary DNS. Secondary DNS
192.168.100.1 192.168.100.1 0.0.0.0
Manage the Local Area Network 141 User Manual

and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 23 of 121 PagelD #: 232
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

6. Specify the settings that are described in the following table.

Setting Description

User Name The user name that your ISP gave you for the PPPoE connection or that you

personalized.

Password The password that your ISP gave you for the PPPoE connection or that you

personalized.

Connection Mode From the Connection Mode menu, select one of the following options:
e Automatic. After you click the Apply button, the access point automatically
establishes a PPPoE connection with the ISP.

e Manual. After you click the Apply button, you must manually establish the PPPoE
connection with the ISP by clicking the Connect button.
When the connection is established, to terminate the PPPoE connection, you must
click the Disconnect button.

Note: Whether you select the automatic or manual connection mode, all other fields
are automatically populated when the access point obtains an IP address from your
ISP. That is, the ISP assigns the IP address and all other all related PPPoE settings.
However, the WAN Interface field is fixed at WAN (Ethernet Port).

7. Click the Apply button.
Your settings are saved.

If you specified an automatic connection mode, the access point establishes a PPPoE
connection with the ISP, obtains a WAN IP address from the ISP.

8. If you specified a manual connection mode, click the Connect button.

The access point establishes a PPPoE connection with the ISP and obtains a WAN
IP address from the ISP. This process It might take a while.

After the access point obtains a WAN IP address, the Connect button changes to
the Disconnect button to enable you to manually terminate the PPPoE connection.

 

Manage the Local Area Network 142 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 24 of 121 PagelD #: 233
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Enable the DHCP client

By default, the DHCP client of the access point is enabled and the access point receives
an IP address from a DHCP server.

How your access point receives its IP address depends on whether it functions in AP
mode (which is the default system mode) or Router mode:

e Ifthe access point functions in its default system mode (AP mode), it receives an IP
address from a DHCP server (or a router that functions as a DHCP server) in your
network.

e Ifthe access point functions in Router mode, it receives an IP address from your
Internet modem.

If you disabled the DHCP client, you can reenable it, which is described in the following
sections:

e AP mode: Enable the DHCP client

e Router mode: Enable the DHCP client and let the access point obtain a WAN IP
address

AP mode: Enable the DHCP client

To enable the DHCP client if the access point functions in AP mode:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

Manage the Local Area Network 143 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 25 of 121 PagelD #: 234
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

4. Select Management > Configuration > IP > LAN.

DHCP Client

(Enable ®) Disable

IP Address Subnet Mask Gateway

192.168.100.113 255.255.255.0 192.168.100.1

Primary DNS Secondary DNS

192,168.100,1 0.0.0.0

802.1Q VLAN

Untagged VLAN Management VLAN
1

Fully Qualified Domain Name

5. Select the Enable radio button.
The fields are masked.

6. Click the Apply button.

Your settings are saved. The access point restarts with the new IP settings. It might
take a while before the access point receives its IP address setting from the DHCP
server.

Router mode: Enable the DHCP client and let the access
point obtain a WAN IP address

If your Internet service provider (ISP) assigns IP addresses automatically through their
DHCP server and you enable the DHCP client of the access point if the access point
functions in Router mode, the access point can automatically obtain an IP address from
your ISP. (This is the default setting if the access point functions in Router mode.)

To enable the DHCP client if the access point functions in Router mode:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

 

Manage the Local Area Network 144 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 26 of 121 PagelD #: 235
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over
WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Configuration > IP > WAN.
The page that displays lets you specify the WAN settings.

5. From the WAN Interface Type menu, select Dynamic.

IPv4 Settings

WAN Interface Type WAN Interface IP Address

Dynamic |= WAN (Ethernet Port) 192.168.100.164

Subnet Mask Gateway Primary DNS

255.255.255.0 192.168.100.1 192.168.100.1

Secondary DNS

0.0.0.0

Note: All fields are automatically populated when the access point obtains an IP
address from your Internet service provider (ISP). That is, the ISP assigns the IP
address and all other all related settings. However, the WAN Interface field is fixed
at WAN (Ethernet Port).

6. Click the Apply button.

Your settings are saved. The access point restarts with the new IP settings, establishes
a connection with the ISP, and obtains a WAN IP address from the DHCP server of
your ISP. This process might take a while.

 

Manage the Local Area Network 145 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 27 of 121 PagelD #: 236
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Set the 802.10 VLAN and management
VLAN

The 802.10 VLAN protocol on the access point logically separates traffic on the same
physical (wired) network. This protocol can work with tagged and untagged VLANs, as
follows:

e Untagged VLAN. The access point sends untagged frames from its Ethernet interface.
Incoming untagged frames are assigned to the untagged VLAN. By default, the
untagged VLAN is VLAN 1. By default, the access point functions with an untagged
VLAN.

e Tagged VLAN. The access point tags all frames that it sends from its Ethernet
interface. Only the incoming frames that are tagged with known VLAN IDs are
accepted.

The management VLAN is used for managing traffic such as Telnet, SNMP, and HTTP
traffic to and from the access point. Frames that belong to the management VLAN and
that are sent over the trunk do not receive an 802.10 header. If a port is a member of
a single VLAN, its traffic can be untagged.

The following sections describe how you can set up the 802.10 VLAN and management
VLAN:

e AP mode: Set the 802.10 VLAN and management VLAN
e Router mode: Set the 802.10 VLAN and management VLAN

AP mode: Set the 802.10 VLAN and management VLAN

To set the 802.10 VLAN and management VLAN when the access point functions
in AP mode:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

 

Manage the Local Area Network 146 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 28 of 121 PagelD #: 237
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Configuration > IP > LAN.

DHCP Client

®)Enable Disable

IP Address Subnet Mask Gateway
192.168.100.113 255.255.255.0 192.168.100.1
Primary DNS Secondary DNS

192.168.100.1 0.0.0.0

802.1Q VLAN
Untagged VLAN @ Management VLAN

1 1

Fully Qualified Domain Name

 

5. To change the 802.10 VLAN, either clear or select the Untagged VLAN check box:

e Untagged VLAN. By default, the Untagged VLAN check box is selected. The
access point sends untagged frames from its Ethernet interface. Incoming
untagged frames are assigned to the untagged VLAN. By default, the untagged
VLAN is VLAN 1 but you can enter another VLAN ID in the field if that VLAN ID is
supported on your network.

e Tagged VLAN. Clear the Untagged VLAN check box only ifthe hubs and switches
on your LAN support the 802.10 VLAN protocol. The access point tags all frames
that it sends from its Ethernet interface. Only the incoming frames that are tagged
with known VLAN IDs are accepted. Similarly, change the ID for the untagged
VLAN only if the hubs and switches on your LAN support the 802.10 VLAN
protocol and the new VLAN ID is supported on your network.

6. To change the VLAN ID for the management VLAN, enter another VLAN ID in the
Management VLAN field.

 

Manage the Local Area Network 147 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 29 of 121 PagelD #: 238

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

By default, the management VLAN is VLAN 1. If you change the VLAN ID, be sure
that the VLAN ID is supported on your network.

7. Click the Apply button.

Your settings are saved. The access point restarts with the new VLAN settings.

Router mode: Set the 802.10 VLAN and management VLAN

To set the 802.10 VLAN and management VLAN when the access point functions
in Router mode:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

4. Select Management > Configuration > IP > LAN.

 

Manage the Local Area Network 148 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 30 of 121 PagelD #: 239
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

IPv4 Settings

Router IPv4 Settings

IP Address Subnet Mask

192.168.0.100 255.255.255.0

802.10 VLAN
Untagged VLAN Management VLAN Inter-VLAN Routing

1 i Enable Disable

Management VLAN DHCP Server (®) Enable () Disable

Starting Address Ending Address Subnet Mask

192.168.0.2 192.168.0.50 255.255.255.0

Gateway Primary DNS Secondary DNS

192.168.0.100 8.8.8.8 8.8.4.4

Primary WINS Secondary WINS Days Hrs Mins

0.0.0.0 0.0.0.0 Tae 0 0

5. To change the 802.10 VLAN, either clear or select the Untagged VLAN check box:

e Untagged VLAN. By default, the Untagged VLAN check box is selected. The
access point sends untagged frames from its Ethernet interface. Incoming
untagged frames are assigned to the untagged VLAN. By default, the untagged
VLAN is VLAN 1 but you can enter another VLAN ID in the field if that VLAN ID is
supported on your network.

e Tagged VLAN. Clear the Untagged VLAN check box only ifthe hubs and switches
on your LAN support the 802.10 VLAN protocol. The access point tags all frames
that it sends from its Ethernet interface. Only the incoming frames that are tagged
with known VLAN IDs are accepted. Similarly, change the ID for the untagged
VLAN only if the hubs and switches on your LAN support the 802.10 VLAN
protocol and the new VLAN ID is supported on your network.

6. To change the VLAN ID for the management VLAN, enter another VLAN ID in the
Management VLAN field.

By default, the management VLAN is VLAN 1. If you change the VLAN ID, be sure
that the VLAN ID is supported on your network.

7. Click the Apply button.
Your settings are saved. The access point restarts with the new VLAN settings.

 

Manage the Local Area Network 149 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 31 of 121 PagelD #: 240
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

AP mode only: Specity an existing domain
name

You can specify an existing fully qualified domain name (FODN) for the access point so
that you can access the access point by using a domain name instead of an IP address.
The FODN must be a domain name that is registered with a Domain Name System
(DNS) provider.

The following are the requirements for the FODN:

e The length can be from 1 to 64 characters.
e Alphanumeric characters are allowed (a-z and 1-9)

e Adot(.) and a hyphen (-) are allowed but the name cannot start with either.

An example is myap01_firstfloor_myorganization.com.
To specify a FQDN:

1. Opena web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

 

Manage the Local Area Network 150 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 32 of 121 PagelD #: 241
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

4. Select Management > Configuration > IP > LAN.

DHCP Client

®) Enable Disable

IP Address Subnet Mask Gateway
192.168.100.113 255.255.255.0 192,168.100.1

Primary DNS Secondary DNS

192.168.100.1 0.0.0.0

802.1Q VLAN
Untagged VLAN Management VLAN

1 1

Fully Qualified Domain Name

 

5. In the Fully Qualified Domain Name field, specify the FODN.

6. Click the Apply button.

Your settings are saved. The access point attempts to resolve the FDON to an IP
address.

Enable or disable Spanning Tree Protocol

For locations where multiple access points are active and redundant network paths
might be present, Spanning Tree Protocol (STP) can prevent network loops. If your
location might include redundant network paths, we recommend that you enable STP.

To enable or disable Spanning Tree Protocol:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

 

Manage the Local Area Network 151 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 33 of 121 PagelD #: 242

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

Select Management > Configuration > System > Advanced > General.
The General page displays.
Select one of the following radio buttons:

e Enable. STP is enabled.
e Disable. STP is disabled. This is the default setting.

Click the Apply button.
Your settings are saved.

Enable or disable the network integrity check
function

The network integrity check function enables the access point to validate whether the
upstream link is active before the access point allows WiFi associations. Make sure that
the default gateway is configured correctly. By default, the network integrity check
function is disabled.

To enable or disable the network integrity check function:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

 

Manage the Local Area Network 152 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 34 of 121 PagelD #: 243

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

Select Management > Configuration > System > Advanced > General.
The General page displays.
Select one of the following radio buttons:

e Enable. The network integrity check function is enabled.

e Disable. The network integrity check function is disabled. This is the default
setting.

Click the Apply button.
Your settings are saved.

Enable or disable IGMP snooping

IGMP snooping allows IP multicast packets to be transmitted only to the members of a
corresponding multicast group. Enabling IGMP snooping prevents flooding of multicast
traffic to all the ports in a broadcast domain. By default IGMP snooping is disabled on
the access point.

To enable or disable IGMP snooping:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

 

Manage the Local Area Network 153 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 35 of 121 PagelD #: 244

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

Select Management > Configuration > System > Advanced > General.
The General page displays.
Select one of the following radio buttons:

e Enable. IGMP snooping is enabled.
e Disable. |GMP snooping is disabled. This is the default setting.

Click the Apply button.
Your settings are saved.

Enable or disable Ethernet LLDP

Link Layer Discovery Protocol (LLDP), as specified in IEEE 802.1AB, can provide link-layer
messages to adjacent network devices. For example, LLDP lets network devices such
as switches and management devices discover the access point in a network.

LLDP can also detect if the access point receives power through PoE. By default, LLDP
is enabled.

To enable or disable the LLDP:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

 

Manage the Local Area Network 154 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 36 of 121 PagelD #: 245

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

Select Management > Configuration > System > Advanced > Ethernet LLDP.
The Ethernet LLDP page displays.

Select one of the following radio buttons:

e Enable. LLDP is enabled. This is the default setting.
e Disable. LLDP is disabled.

If the access point receives power from a PoE switch and you disable
LLDP, power to the access point might be turned off after you click the Apply button.
In that case, restart the access point.

Click the Apply button.
Your settings are saved.

Enable or disable UPnP

Universal Plug and Play (UPnP) lets the access point be discovered by other devices in
the network that support UPnP. UPnP is enabled by default.

To enable or disable UPnP:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

 

Manage the Local Area Network 155 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 37 of 121 PagelD #: 246
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Configuration > System > Advanced > UPnP.
The UPnP page displays.

5. Select one of the following radio buttons:

e Enable. UPnP is enabled. This is the default setting.
e Disable. UPnP is disabled.

6. Click the Apply button.
Your settings are saved.

Router mode only: Manage DHCP servers

When the system mode of the access point is Router mode (see Change the system
mode to Router mode or AP mode on page 170), you can add up to seven Dynamic Host
Configuration Protocol (DHCP) servers in addition to the default DHCP server. (The
access point can support a total of eight DHCP servers.) Each DHCP server can issue IP
addresses from a unique address pool to the clients of a WiFi network with a unique
VLAN ID. Each DHCP server corresponds to a unique VLAN ID.

The access point delivers the following settings to any WiFi device that requests DHCP:

e An IP address from the range that you define
e Subnet mask

e Gateway IP address

e DNS server IP address

e WINS server IP address, if any

The following sections describe how you can manage DHCP servers:
e Manage the default DHCP server
e Add a DHCP server for a WiFi network

e View or change the settings for a DHCP server
e Disable a DHCP server

 

Manage the Local Area Network 156 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 38 of 121 PagelD #: 247

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Remove a DHCP server
Enable or disable inter-VLAN routing

Manage the default DHCP server

The information in this section applies only when the system mode of the access point

is Router mode (see Change the system mode to Router mode or AP mode on page
170). If it is, the management VLAN DHCP server (the default DHCP server) of the access

point is enabled and assigns IP addresses to clients of the default WiFi network.

To manage the default DHCP server:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

Manage the Local Area Network 157 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 39 of 121 PagelD #: 248

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

IPvé Settings

Router IPv4 Settings

4. Select Management > Configuration > IP > LAN.

IP Address Subnet Mask
192.168.0.100 255.255,255.0
802.10 VLAN
Untagged VLAN [J Management VLAN Inter-VLAN Routing
1 1 Enable Disable
Management VLAN DHCP Server @ Enable ( 2 Disable
Starting Address Ending Address Subnet Mask
192.162.0,2 192.168.0.50 255.255.255.0
Gateway Primary DNS Secondary DNS
192.168.0.100 6.8.8.8 8.8.4.4
Primary WINS Secondary WINS Days Hrs Mins
0.0.0.0 0.0.0.0 Lease 3 0 0

The settings of the default DHCP server apply to the management VLAN, which, by
default, is VLAN 1. For information about setting the 802.10 VLAN and the
management VLAN, see Set the 802.10 VLAN and management VLAN on page 146.

By default, the Management VLAN DHCP Server Enable radio button is selected.
5. Specify the settings that are described in the following table.

Setting Description

Starting Address Enter the starting IP address of the DHCP IP address range.

By default, the address is 192.160.0.2.

Ending Address Enter the ending IP address of the DHCP IP address range.

By default, the address is 192.168.0.50.

 

Subnet Mask Enter the subnet mask that is used for all IP addresses in the DHCP IP address range.
By default, the mask is 255.255.255.0.
Gateway The IP address of the gateway that is used by your Internet modem.
By default, the address is 192.168.0.100.
Manage the Local Area Network 158 User Manual

and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 40 of 121 PagelD #: 249
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

(Continued)

Setting Description

Primary DNS The IP address of the primary Domain Name System (DNS) server that is used by your
Internet modem.
By default, the address is 8.8.8.8.

Secondary DNS The IP address of the secondary DNS server that is used by your Internet modem.
By default, the address is 8.8.4.4.

Primary WNS The IP address of the primary Windows Internet Name Service (WINS) server that is

used by your Internet moden, if any.

Secondary WNS The IP address of the secondary WINS server that is used by your Internet modem,
if any.
Lease From the menus, specify the duration of the IP address lease. By default, the lease

expires after one day (24 hours), after which the WiFi client must renew the lease.

6. Click the Apply button.
Your settings are saved.

Add a DHCP server for a WiFi network

The information in this section applies only when the system mode of the access point

is Router mode (see Change the system mode to Router mode or AP mode on page
170). If itis, the default DHCP server of the access point is enabled and you can also add

up to seven additional DHCP servers for WiFi clients only.

IMPORTANT: You can add an additional DHCP server only after you set up a WiFi
network with a unique VLAN ID that is not yet serviced by an existing DHCP server (see

Set up an open or secure WiFi network on page 45).

To add a DHCP server:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

 

Manage the Local Area Network 159 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 41 of 121 PagelD #: 250
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

3. Enter the access point user name and password.
The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Configuration > IP > LAN > DHCP Server Settings.
If you did not yet add any DHCP servers, only + Add Server displays.

5. Click the + button to the left of Add Server.

x
SERVER2

Server (®) Enable (_) Disable VLANID 2 :
Starting Address Ending Address Subnet Mask

192.168.1.2 192.168.1.50 255.255,255.0
Gateway Primary DNS Secondary DNS

192.168.1.2 8.88.8 8.8.4.4
Primary WINS Secondary WINS Days Hrs Mins

0.0.0.0 0.0.0.0 bease 1 0 0

 

Servers that you add are designated Server 2 through Server 7.

By default, the Enable radio button is selected.

6. Specify the settings that are described in the following table.

Setting Description

VLAN ID From the VLAN ID menu, select the VLAN ID for the WiFi network (SSID) to which
you assign the DHCP server. For information about assigning a VLAN ID to a WiFi

network, see Change the VLAN ID for a WiFi network on page 60.

Starting Address Enter the starting IP address of the DHCP IP address range.

 

Manage the Local Area Network 160 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 42 of 121 PagelD #: 251
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

(Continued)

Setting Description

Ending Address Enter the ending IP address of the DHCP IP address range.

Subnet Mask Enter the subnet mask that is used for all IP addresses in the DHCP IP address range.
Gateway The IP address of the gateway that is used by your Internet modem.

Primary DNS The IP address of the primary Domain Name System (DNS) server that is used by your

Internet modem.

Secondary DNS The IP address of the secondary DNS server that is used by your Internet modem.
Or leave this field blank.

Primary WNS The IP address of the primary Windows Internet Name Service (WINS) server that is

used by your Internet modem, if any.

Secondary WNS The IP address of the secondary WINS server that is used by your Internet modem.
Or leave this field blank.

Lease From the menus, specify the duration of the IP address lease. By default, the lease

expires after one day (24 hours), after which the WiFi client must renew the lease.

7. Click the Apply button.
Your settings are saved.

8. To view the SSIDs to which the DHCP server is assigned, click the SSID link just below
the VLANID field at the top of the page.

View or change the settings for a DHCP server

The information in this section applies only when the system mode of the access point

is Router mode (see Change the system mode to Router mode or AP mode on page
170). If itis, the default DHCP server of the access point is enabled and you can also add

up to seven additional DHCP servers for WiFi clients only.

You can view or change the setting of a DHCP server that you added. For information
about the default DHCP server, see Manage the default DHCP server on page 157.

To view or change the setting of a DHCP server:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

 

Manage the Local Area Network 161 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 43 of 121 PagelD #: 252
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Configuration > IP > LAN > DHCP Server Settings.

> SERVER2

> SERVERS

+ Add Server

5. Click the > button to the left the DHCP server.
The settings for the selected DHCP server display.

6. Change the settings for the DHCP server as needed.

For detailed descriptions of the settings, see Add a DHCP server for a WiFi network
on page 159.

7. If you made changes, click the Apply button.
Your settings are saved.

Disable a DHCP server

The information in this section applies only when the system mode of the access point

is Router mode (see Change the system mode to Router mode or AP mode on page

170). If it is, the default DHCP server of the access point is enabled and you can also add
up to seven additional DHCP servers for WiFi clients only.

You can temporarily disable a DHCP server.

 

Manage the Local Area Network 162 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 44 of 121 PagelD #: 253

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

To disable a DHCP server:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.
A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

Select Management > Configuration > IP > LAN > DHCP Server Settings.

> SERVER2

> SERVERS

+ Add Server

Click the > button to the left the DHCP server.
The settings for the selected DHCP server display.

Select the Server Disable radio button.

7. Click the Apply button.

Your settings are saved.

Remove a DHCP server

The information in this section applies only when the system mode of the access point

is Router mode (see Change the system mode to Router mode or AP mode on page

 

Manage the Local Area Network 163 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 45 of 121 PagelD #: 254

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

170). If itis, the default DHCP server of the access point is enabled and you can also add
up to seven additional DHCP servers for WiFi clients only.

You can remove a DHCP server that you no longer need.

To remove a DHCP server:

 

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message
and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.
If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over
WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).
The Dashboard page displays.
4. Select Management > Configuration > IP > LAN > DHCP Server Settings.
2/SERVER?
a SERVERS
+ Add Server
5. Click the > button to the left the DHCP server.
The settings for the selected DHCP server display.
6. Click the Delete button.
A pop-up warning window opens.
7. Click the Delete button.
The pop-up window closes and the DHCP server is removed.
Manage the Local Area Network 164 User Manual

and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 46 of 121 PagelD #: 255
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Enable or disable inter-VLAN routing

The information in this section applies only when the system mode of the access point

is Router mode (see Change the system mode to Router mode or AP mode on page
170).

By default, inter-VLAN routing is enabled and clients of different WiFi networks (each
with a unique VLAN) can communicate with each other. You can select the VLANs that
participate in inter-VLAN routing. For added security, you can disable inter-VLAN routing
so that clients of different WiFi networks (each with a unique VLAN) cannot communicate
with each other.

To enable or disable inter-VLAN routing:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

4. Select Management > Configuration > IP > LAN > Inter VLAN Settings.
The inter-VLAN routing options displays.

5. Enable or disable inter-VLAN routing by doing the following:

e To enable inter-VLAN routing, do the following:

a. Select the Enable radio button.
Inter-VLAN routing is enabled. This is the default setting.

b. To specify the VLANs that must participate in inter-VLAN routing, select or
clear the check boxes for the individual VLANs.

 

Manage the Local Area Network 165 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 47 of 121 PagelD #: 256
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If you did not create any VLANs, only the default VLAN (with ID 1) displays.
e Todisable inter-VLAN routing, select the Disable radio button.

6. Click the Apply button.
Your settings are saved.

 

Manage the Local Area Network 166 User Manual
and IP Settings
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 48 of 121 PagelD #: 257

/

Manage and Maintain the Access
Point

 

This chapter describes how you can manage and maintain the access point.
The chapter includes the following sections:

e Change the management mode to NETGEAR Insight or Web-browser

e Change the system mode to Router mode or AP mode
e Change the country or region of operation
e Change the admin user account password

e Change the system name
® Specify a custom NTP server

e Setthe time zone

e Manage the syslog settings

e Manage the firmware of the access point

e Manage the configuration file of the access point

e Reboot the access point from the local browser interface
e Schedule the access point to reboot

e Return the access point to its factory default settings

e Enable or disable Secure Shell

e Enable SNMP and manage the SNMP settings

e Manage the LEDs

 

 

167
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 49 of 121 PagelD #: 258

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Change the management mode to
NETGEAR Insight or Web-browser

The access point can function in one of the following management modes:

NETGEAR Insight mode. You can manage the access point remotely from a mobile
device on which the NETGEAR Insight app is installed or, if you are an Insight Premium
or Insight Pro subscriber, through the Insight Cloud portal. The NETGEAR Insight
mode is the default setting. In this mode, you can connect to the access point over
the local browser interface, but only a basic and limited local browser interface is
available. For information about the Insight app and Insight Cloud portal, visit
insight.netgear.com and see the NETGEAR knowledge base at

netgear.com/support/product/insight.aspx.

IMPORTANT: When you change the management mode from Web-browser mode
to NETGEAR Insight mode, the configuration of the access point is reset (cleared)
with the exception of the IP address, access point name, and password for the local
browser interface. The access point restarts and broadcasts SSID Netgearxxxxxx, in
which xxxxxx represents the last six hexadecimal digits of the access point’s MAC
address. The MAC address is listed on the product label. The default WiFi passphrase
is sharedsecret.

Web-browser mode. You can manage the access point locally from a WiFi or wired
device through the local browser interface. In this mode, the access point functions
as a standalone device and is not connected to the Insight cloud-based management
platform.

IMPORTANT: If you first add the access point to a NETGEAR Insight network location
and manage the access point through the Insight app or Insight Cloud portal and
then you change the management mode to Web-browser mode, you must continue
to use the Insight network password to access the local browser interface until you
manually change the admin password on the access point.

To change the management mode to NETGEAR Insight mode or Web-browser
mode:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

 

2. Enter the IP address that is assigned to the access point.
A login window opens.
Manage and Maintain the Access 168 User Manual

Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 50 of 121 PagelD #: 259
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.
The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Configuration > System > Basic > Management Mode.
The Management Mode page displays.

5. Select one of the following radio buttons:

e NETGEAR Insight. The access point functions in NETGEAR Insight management
mode.

e Web-browser. The access point functions in Web-browser management mode.

When you change the management mode from Web-browser mode
to NETGEAR Insight mode, the configuration of the access point is reset (cleared)
with the exception of the IP address, access point name, and password for the local
browser interface. The access point restarts and broadcasts SSID Netgearxxxxxx, in
which xxxxxx represents the last six hexadecimal digits of the access point’s MAC
address. The MAC address is listed on the product label. The default WiFi passphrase
is sharedsecret.

6. Click the Apply button.
A pop-up warning window opens.

7. Click the OK button.

The pop-up window closes and your settings are saved. The access point restarts in
the new management mode.

 

Manage and Maintain the Access 169 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 51 of 121 PagelD #: 260

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Change the system mode to Router mode
or AP mode

The access point can function in one of the following system modes:

AP. Select the AP radio button to let the access point function with its router
functionality disabled. This is the default setting. When the access point is in AP
mode, connect the WAN PoE port of the access point to your network.

Router. Select the Router radio button to let the access point function with its router
functionality enabled, including network address translation (NAT) and the option
to enable and configure the DHCP server of the access point. When the access point
is in Router mode, connect the WAN PoE port of the access point to a LAN port on
the Internet modem.

IMPORTANT: When you change the system mode, the access point is also reset to
factory default settings with the exception of the IP address of the WAN PoE port,
the host name, the country of operation, and the time zone.

For more information about how you can connect the access point to your network or

Internet modem, see Set up and connect the access point to your network or Internet
modem on page 22.

To change the system mode to AP mode or Router mode:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.
A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

 

Manage and Maintain the Access 170 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 52 of 121 PagelD #: 261
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

The Dashboard page displays.

4. Select Management > Configuration > System > Basic.
The General page displays the basic system settings.

5. Select one of the following radio buttons:

e AP. The access point functions in AP mode. This is the default setting.

e Router. The access point functions in Router mode.

The system mode changes and the access point is reset to factory
default settings with the exception of the IP address of the WAN PoE port, the host
name, the country of operation, and the time zone.

6. Click the Apply button.
A pop-up warning window opens.

7. Click the OK button.

The pop-up window closes and your settings are saved. The access point restarts in
the new system mode.

Change the country or region of operation

You can change the country or region in which the access point operates. Note the
following:

e Make sure that the country is set to the location where the device is operating. You
are responsible for complying with the local, regional, and national regulations that
are set for channels, power levels, and frequency ranges.

e It might not be legal to operate the access point in a country or region other than
those listed in the menu. If your country or region is not listed in the menu, you must
check with your local government agency or check the NETGEAR website for
information about which channels you can use.

To change the country or region of operation:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

 

Manage and Maintain the Access 171 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 53 of 121 PagelD #: 262
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Configuration > System > Basic.
The General page displays the basic system settings.

5. Select a country or region from the Country / Region menu.

6. Click the Apply button.
A pop-up warning window opens.

7. Click the OK button.

The pop-up window closes and your settings are saved. The access point restarts
with the default WiFi settings that are specific to the selected country or region.

Change the admin user account password

This admin user account password is the password that you must use to log in to the
local browser interface of the access point with the user name admin. (It is not the
passphrase that you use for WiFi access.)

The password must be 8 to 63 characters in length and must contain at least one
uppercase letter, one lowercase letter, and one number. The following special characters
are allowed:

1@#Z%*~&*()
To change the password for the user name admin:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

 

Manage and Maintain the Access 172 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 54 of 121 PagelD #: 263
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

A login window opens.

If your browser does not open the login window but displays a security message
and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.
The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Configuration > System > Advanced > User Accounts.
The page that displays lets you change the user accounts.

5. Next to admin, in the Password field, enter the new password.

6. In the Confirm Password field, enter the same new password.

Note: You cannot change the user name. The name must remain admin.

7. Click the Apply button.

Your settings are saved. The next time that you log in to the access point, you must
use the new password. If you forget the new password, you must reset the access
point to factory default settings. Doing so restores the password to the default
password.

Change the system name

The system name is a unique NetBIOS name for the access point. The default system
name is located on the access point label. By default, the system name is Netgearxxxxxx,
in which xxxxxx represents the last six hexadecimal digits of the access point’s MAC
address.

 

Manage and Maintain the Access 173 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 55 of 121 PagelD #: 264

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

To change the system name:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message
and does not let you proceed, see Log in to the access point after initial setup on

page 41.
Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

Select Management > Configuration > System > Basic.
The General page displays the basic system settings.

Enter a new name in the System Name field.
Using the following guidelines:

e The name must contain alphanumeric characters, can contain hyphens, and
cannot be longer than 15 characters.

e The name cannot start or end with a hyphen.

e The name must contain at least one alphabetical character.

Click the Apply button.
Your settings are saved.

Specify a custom NTP server

By default, the access point receives its time from a default NETGEAR Network Time
Protocol (NTP) server, but you can also specify a custom NTP server.

 

Manage and Maintain the Access 174 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 56 of 121 PagelD #: 265

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

To specify a custom NTP server:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

Select Management > Configuration > System > Basic > Time.

Time Zone Current Time (24-hour)

USA-Pacific ™ Tue Dec 13 14:14:54 PST 2016

NTP Client Use Custom NTP Server Hostname IP Address

®) Enable Disable
retgear.com

By default, the Enable radio button is selected and the access point receives its time
from a default NETGEAR NTP server.

5. Select the Use Custom NTP Server check box.

6. Take one of the following actions:

e Enter the host name of the NTP server.
By default, the Hostname radio button is selected.

e Select the IP address radio button and enter the IP address of the NTP server.

. Click the Apply button.

 

Manage and Maintain the Access 175 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 57 of 121 PagelD #: 266

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Your settings are saved. When the access point connects over the Internet to the
new NTP server, the date and time that display on the page are adjusted according
to your settings.

For information about setting the time zone, see Set the time zone on page 176.

Set the time zone

The access point might detect the time zone automatically or you might need to adjust
the time zone and daylight saving time settings. When the access point synchronizes
its clock with a Network Time Protocol (NTP) server, the page shows the date and time.
If the page does not show the correct date and time, you might need to set the time
zone and adjust the daylight saving time setting.

To set the time zone and adjust the daylight saving time setting:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.
The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

Select Management > Configuration > System > Basic > Time.
The page that displays lets you change the time settings.

From the Time Zone menu, select the time zone for the area in which the access
point operates.

Click the Apply button.

 

Manage and Maintain the Access 176 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 58 of 121 PagelD #: 267

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Your settings are saved. When the access point connects over the Internet to an NTP
server, the date and time that display on the page are adjusted according to your
settings.

For information about other time settings, see Specify a custom NIP server on page
174.

Manage the syslog settings

If a syslog server is present on your network, you can configure the access point to send
its system logs to the syslog server.

To manage the syslog settings and enable the syslog function:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Configuration > System > Advanced > Syslog.

Syslog Server IP Port Number
Enable Syslog Address 514

192.168.0.1

 

 

Manage and Maintain the Access 177 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 59 of 121 PagelD #: 268
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

5. Specify the IP address and port number for the syslog server:

e Syslog Server IP Address. Enter the IP address of the syslog server on your
network,

e Port Number. Enter the port number at which the syslog can be reached. By
default, the port number is 514.

6. To enable the syslog server function, select the Enable Syslog check box.

7. Click the Apply button.
Your settings are saved.

Manage the firmware of the access point

The access point firmware is stored in flash memory.

You can check to see if new firmware is available and upgrade the access point to the
new firmware. You can also visit the NETGEAR support website, download the firmware
manually to a local computer, and update the access point to the new firmware. If
someone (usually the network administrator) places new firmware on a secure FTP (SFTP)
server in the network, you can load the firmware from the server and upgrade the
firmware of the access point.

The following sections describe the firmware management methods:
e Check for new firmware and upgrade the access point
e Manually download firmware and upgrade the access point

e Revert to the backup firmware
e Use an SFTP server to upgrade the access point

Check for new firmware and upgrade the access point

For you to check for new firmware, the access point must be connected to the Internet.
To check for new firmware and upgrade your access point:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

 

Manage and Maintain the Access 178 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 60 of 121 PagelD #: 269
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

3. Enter the access point user name and password.
The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Click the Check for Upgrade button.

The access point detects new firmware if any is available and displays a message
asking if you want to download and install it.

5. To download and install the new firmware, follow the prompts and dialog boxes.
The access point locates the firmware, downloads it, and begins the upgrade.

To avoid the risk of corrupting the firmware, do not interrupt the
upgrade. For example, do not close the browser, click a link, or load a new page.
Do not turn off the access point. Wait until the access point finishes restarting and
the Power LED remains solid green.

The firmware upgrade process takes several minutes. When the upgrade is complete,
your access point restarts.

6. Verify that the access point runs the new firmware version by logging back in to the
access point.

The firmware version is stated on the Dashboard page.

7. Read the new firmware release notes to determine whether you must reconfigure
the access point after upgrading.

Manually download firmware and upgrade the access point

Downloading firmware to a local computer and upgrading the access point are two
separate tasks that are combined in the following procedure. After you upgrade the

 

Manage and Maintain the Access 179 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 61 of 121 PagelD #: 270
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

access point to new firmware, the old firmware is saved as backup firmware so that you
can revert to it (see Revert to the backup firmware on page 181).

IMPORTANT: When you install an older firmware version (or the backup firmware
version), that is, you downgrade rather than upgrade the firmware, the configuration
of the access point is reset (cleared) with the exception of the IP address, access point
name, and password for the local browser interface. The access point restarts and
broadcasts SSID Netgearxxxxxx, in which xxxxxx represents the last six hexadecimal
digits of the access point’s MAC address. The MAC address is listed on the product
label. The default WiFi passphrase is sharedsecret.

To download firmware manually and upgrade your access point:

1. Visit netgear.com/support/download/, locate the support page for your product,

and download the new firmware.

2. Read the new firmware release notes to determine whether you must reconfigure
the access point after upgrading.

3. Opena web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

4. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

5. Enter the access point user name and password.
The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

6. Select Management > Maintenance > Upgrade > Firmware Upgrade.
The Firmware Upgrade page displays.

7. Make sure that Local is selected from the Upgrade Options menu.
Local is the default selection.

 

Manage and Maintain the Access 180 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 62 of 121 PagelD #: 271
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

8. Locate and select the firmware file on your computer by doing the following:

a. Click the Browse button.

b. Navigate to the firmware file.
The filename ends in . tar.

c. Select the firmware file.

9. Click the Upgrade button.

To avoid the risk of corrupting the firmware, do not interrupt the
upgrade. For example, do not close the browser, click a link, or load a new page.
Do not turn off the access point. Wait until the access point finishes restarting and
the Power LED remains solid green.

The firmware upgrade process takes several minutes. When the upgrade is complete,
the access point restarts.

10. Verify that the access point runs the new firmware version by logging back in to the
access point.
The firmware version is stated on the Dashboard page.

Revert to the backup firmware

After you upgrade the access point to new firmware, the old firmware is saved as backup
firmware so that you can revert to it.

IMPORTANT: When you revert to the backup firmware and the backup firmware is an
earlier version than the firmware version that is running on the access point, the
configuration of the access point is reset (cleared) with the exception of the IP address,
access point name, and password for the local browser interface. The access point
restarts and broadcasts SSID Netgearxxxxxx, in which xxxxxx represents the last six
hexadecimal digits of the access point’s MAC address. The MAC address is listed on
the product label. The default WiFi passphrase is sharedsecret.

To revert to the backup firmware on the access point:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.
A login window opens.

 

Manage and Maintain the Access 181 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 63 of 121 PagelD #: 272
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Maintenance > Upgrade > Firmware Upgrade.

The Firmware Upgrade page displays. The page shows both the current firmware
version and the backup firmware version.

5. Click the Bootup Backup Firmware button.
A pop-up warning window opens.

IMPORTANT: When you revert to the backup firmware, the configuration of the
access point is reset (cleared) with the exception of the IP address, access point
name, and password for the local browser interface. The access point restarts and
broadcasts SSID Netgearxxxxxx, in which xxxxxx represents the last six hexadecimal
digits of the access point’s MAC address. The MAC address is listed on the product
label. The default WiFi passphrase is sharedsecret.

6. Click the Swap button.

The pop-up window closes, the firmware reversion process initiates, and the access
point restarts.

To avoid the risk of corrupting the firmware, do not interrupt the
reversion. For example, do not close the browser, click a link, or load a new page.
Do not turn off the access point. Wait until the access point finishes restarting and
the Power LED remains solid green.

7. Verify that the access point runs the backup firmware version by logging back in to
the access point.

The firmware version is stated on the Dashboard page.

 

Manage and Maintain the Access 182 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 64 of 121 PagelD #: 273

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Use an SFTP server to upgrade the access point

If someone (usually the network administrator) places new firmware on a secure FTP
(SFTP) server in the network, you can load the firmware from the SFTP server and upgrade
the firmware of the access point.

To upgrade the firmware of the access point from an SFTP server:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

Select Management > Maintenance > Upgrade > Firmware Upgrade.
The Firmware Upgrade page displays.

5. From the Upgrade Options menu, select SFTP.

6. Specify the following server settings:

e Firmware File. The name of the access point firmware file on the SFTP server.
e SFTP Server IP. The IP address of the SFTP server on your network.
e User Name. The user name that is required to access the SFTP server.

e Password. The password that is required to access the SFTP server.

Click the Upgrade button.

 

Manage and Maintain the Access 183 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 65 of 121 PagelD #: 274
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

To avoid the risk of corrupting the firmware, do not interrupt the
upgrade. For example, do not close the browser, click a link, or load a new page.
Do not turn off the access point. Wait until the access point finishes restarting and
the Power LED remains solid green.

The firmware upgrade process takes several minutes. When the upgrade is complete,
the access point restarts.

8. Verify that the access point runs the new firmware version by logging back in to the
access point.

The firmware version is stated on the Dashboard page.

Manage the configuration file of the access
point

The configuration settings of the access point are stored within the access point in a
configuration file. You can back up (save) this file to your computer or restore it.

Back up the access point configuration

You can save a copy of the current configuration settings. If necessary, you can restore
the configuration settings later.

Note: The backup file is saved in a binary format so that it is protected and cannot be
opened by a regular application.

To back up the access point’s configuration settings:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

 

Manage and Maintain the Access 184 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 66 of 121 PagelD #: 275
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Maintenance > Upgrade > Backup and Restore > Backup
Settings.
The Backup Settings page displays.

5. Click the Backup button.
A pop-up window opens.

6. Enter a password to protect the backup file, and click the Continue button.
You can either using your existing password (the one that you use to log in to the
access point) or enter a unique password.

The password must be 8 to 63 characters in length and must contain at least one
uppercase letter, one lowercase letter, and one number. The following special
characters are allowed:

1L@#$%A&*()

Tip: We recommend that you write down the password because you must enter it
again if you restore the configuration from the backup file.

7. Choose a location to store the file on your computer.
The name of the backup file is WAC510-WAC510-dd-mm-yy hh-mm-ss-config.tar,
in which dd is the date, mm is the month, yy is the year, hh is the hour (in 24-hour
format), mm is the minutes, and ss is the seconds.

An example of a name of a backup file is
WAC510-WAC510-02-15-19 18-56-53-config.tar.

8. Follow the directions of your browser to save the file.

 

Manage and Maintain the Access 185 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 67 of 121 PagelD #: 276

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Restore the access point configuration

If you backed up the configuration file, you can restore the configuration from this file.

To restore configuration settings that you backed up:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

 

 

2. Enter the IP address that is assigned to the access point.
A login window opens.
If your browser does not open the login window but displays a security message
and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over
WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Maintenance > Upgrade > Backup and Restore > Restore
Settings.

The Restore Settings page displays.

5. Click the Browse button and navigate to and select the saved configuration file.
The name of the backup file is WAC510-WAC510-dd-mm-yy_ hh-mm-ss-config.tar,
in which dd is the date, mm is the month, yy is the year, hh is the hour (in 24-hour
format), mm is the minutes, and ss is the seconds.

An example of a name of a backup file is

WAC510-WAC510-02-15-19 18-56-53-config.tar.
6. Click the Restore button.

A pop-up window opens.

7. Enter the password that you specified when you saved the backup file, and click the
Continue button.

8. Click the Restore button.

Manage and Maintain the Access 186 User Manual

Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 68 of 121 PagelD #: 277

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

The pop-up window closes and the configuration is uploaded to the access point.
When the restoration is complete, the access point reboots. This process takes about
two minutes.

To avoid the risk of corrupting the firmware, do not interrupt the
restoration. For example, do not close the browser, click a link, or load a new page.
Do not turn off the access point. Wait until the access point finishes restarting and
the Power LED turns solid green.

Reboot the access point trom the local
browser interface

If you cannot physically access the access point to reboot it (that is, disconnect the power
and reconnect the power), you can use the local browser interface to reboot the access
point.

To reboot the access point:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.
The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

Select Management > Maintenance > Reset > Reboot AP.
The Reboot AP page displays.

 

Manage and Maintain the Access 187 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 69 of 121 PagelD #: 278

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Click the Reboot AP button.
A pop-up warning window opens.

Click the Reboot button.

The pop-up window closes and the access point reboots, which takes about one
minute.

Schedule the access point to reboot

You can schedule the access point to reboot at a time that is more convenient for the
network, for example, when you do not expect any WiFi clients (or only a few) to be
connected to the access point.

To schedule the access point to reboot:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

Select Management > Maintenance > Reset > Reboot AP.
The Reboot AP page displays.

Click the Enable Scheduled Reboot button so that the button displays blue.
The scheduling controls display.

Select the check box for the day on which you want the access point to reboot.

 

Manage and Maintain the Access 188 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 70 of 121 PagelD #: 279
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

You can select multiple days.

7. Using the Start Time menus, specify the hour and minutes for the time at which the
access point must reboot.

Specify the hour in 24-hour format.

8. Click the Apply button.
Your settings are saved.

Return the access point to its factory default
settings

Under some circumstances (for example, if you lost track of the changes that you made
to the access point settings or you move the access point to a different network), you
might want to erase the configuration and reset the access point to factory default
settings.

If you do not know the current IP address of the access point, first try to use an IP scanner
application to detect the IP address before you reset the access point to factory default
settings.

To reset the access point to factory default settings, you can use either the Reset button
on the side of the access point or the use the erase function in the local browser interface.
However, if you cannot find the IP address or lost the password to access the access
point, you must use the Reset button.

After you reset the access point to factory default settings, the user name is admin, the
password is password, the LAN IP address is 192.168.0.100, the access point's DHCP

client is enabled, the default SSID is shown in the format NETGEARxxxxxx-SETUP, and
the default password for WiFi access is sharedsecret.

For an extensive list of factory default settings, see Factory default settings on page 236.

Use the Reset button to reset the access point

You can use the Reset button to return the access point to its factory default settings.
However, if you added the access point to a NETGEAR Insight network location, you
must first use the Insight app or Insight Cloud portal to remove the access point from
the Insight network location before the factory default settings function of the Reset
button is available.

This process erases all settings that you configured in the access point.

 

Manage and Maintain the Access 189 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 71 of 121 PagelD #: 280
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

To reset the access point to factory default settings:

1. On the left side of the access point, locate the recessed Reset button.

 

2. Using a straightened paper clip, press and hold the Reset button for at least 10
seconds.

Note: If you hold the Reset button for less than 10 seconds and then release it, the
access point reboots rather than returning to its factory default settings.

3. Release the Reset button.

The configuration is reset to factory default settings. When the reset is complete,
the access point reboots. This process takes about two minutes.

WARNING: To avoid the risk of corrupting the firmware, do not interrupt the reset.
Do not turn off the access point. Wait until the access point finishes restarting and
the Power LED turns solid green.

Use the local browser interface to reset the access point

You can use the access point's local browser interface to return the access point to its
factory default settings.

CAUTION: This process erases all settings that you configured in the access point.

To erase the settings:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi

connection.

2. Enter the IP address that is assigned to the access point.
A login window opens.

 

Manage and Maintain the Access 190 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 72 of 121 PagelD #: 281

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.
The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

Select Management > Maintenance > Reset > Restore Defaults.
The Restore Defaults page displays.

Click the Restore Defaults button.
A pop-up warning window opens.

Click the Restore button.

The pop-up windows closes and the configuration is reset to factory default settings.
When the reset is complete, the access point reboots. This process takes about two
minutes.

To avoid the risk of corrupting the firmware, do not interrupt the reset.
For example, do not close the browser, click a link, or load a new page. Do not turn
off the access point. Wait until the access point finishes restarting and the Power
LED turns solid green.

Enable or disable Secure Shell

By default, you can access the access point over a Secure Shell (SSH) connection.
To enable or disable SSH:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

 

Manage and Maintain the Access 191 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 73 of 121 PagelD #: 282

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

Select Management > Maintenance > Remote Management.
The Remote Management page displays.
Select one of the following Secure Shell (SSH) radio buttons:

e Enable. SSH is enabled. This is the default setting.
e Disable. SSH is disabled.

Click the Apply button.
Your settings are saved.

Enable SNMP and manage the SNMP
settings

You can access the access point over a Simple Network Management Protocol (SNMP)
connection, which allows SNMP network management software such as HP OpenView
to manage the access point by using the SNMPv1 or v2 protocol. By default, SNMP is
disabled.

To enable SNMP and manage the SNMP settings:

 

1. Opena web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.
Manage and Maintain the Access 192 User Manual

Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 74 of 121 PagelD #: 283
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.
The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Maintenance > Remote Management.
The Remote Management page displays.

5. Select the SNMP Enable radio button.
By default, SNMP is disabled.

Telnet Secure Shell (SSH)

Enable Enable
*) Disable Disable

6. Specify the following settings:

e Read-Only Community Name. The community string that allows the SNMP
manager to read the access point’s MIB objects. The default is public.

e Read-Write Community Name. The community string that allows the SNMP
manager to read and write the access point's MIB objects. The default is private.

e Trap Community Name. The community name that is associated with the IP
address at which traps must be received. The default is trap.

 

Manage and Maintain the Access 193 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 75 of 121 PagelD #: 284
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

e IP address (to receive traps). The IP address of the SNMP manager that must
receive the traps.

e Trap Port. The port number at which the SNMP manager must receive traps. The
default is 162.

7. Click the Apply button.
Your settings are saved.

Manage the LEDs

By default, all LEDs are enabled and function as described in Top panel with LEDs on
page 14. You can manage whether the LEDs light at all. This function is useful if the
access point must function in a dark environment.

To enable or disable the LEDs:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

4. Select Management > Configuration > System > Advanced > LED Control.
The LED Control page displays.

5. Select one of the following radio buttons:

e Enable All LEDs. All LEDs are enabled. This is the default setting.

 

Manage and Maintain the Access 194 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 76 of 121 PagelD #: 285
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

e Disable All LEDs. All LEDs are disabled.
e Enable Power LED. All LEDs are disabled except for the Power LED.

6. Click the Apply button.
Your settings are saved.

 

Manage and Maintain the Access 195 User Manual
Point
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 77 of 121 PagelD #: 286

Monitor the Access Point and the
Network

 

This chapter describes how you can monitor the access point and the network.

The chapter includes the following sections:

e View the access point Internet, IP, and system settings
e View the WiFi radio settings

e View unknown and known neighbor access points
e View client distribution, connected clients, and client trends

e View WiFi and WAN traffic, traffic and ARP statistics, and channel utilization
e View or download tracked URLs

e View, save, download, or clear the logs
e View a WiFi bridge connection

e View the data volume consumption
e View alarms and notifications

 

 

 

196
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 78 of 121 PagelD #: 287

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

View the access point Internet, IP, and system
settings

To view the access point, Internet, IP, and system settings:

 

 

1. Opena web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message
and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over
WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Locate the Connection Status Information pane, System Information pane, and IP
Settings Information pane, which are shown, respectively, on the left, upper center,
and lower center of the following Dashboard figure.

Monitor the Access Point and the 197 User Manual

Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 79 of 121 PagelD #: 288
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

(If the page width on your device is narrow, these panes might be located elsewhere
on the Dashboard.)

Ethernet MAC A0-60-60-60-60-EF

Serial Number BIALG

 

  

Gateway 192.168,100.1

Gateway Status

Devices

 

Traffic (wired)

e Connection Status Information pane. The Connection Status Information pane
is in the top, left corner of the Dashboard (if the page width on your device is
sufficient; otherwise, it might be elsewhere) and displays the following:

- Status of the connection to the NETGEAR Insight cloud-based management
platform, if any.

- Status of the Internet connection.
- Functioning mode of the access point

- Number of clients connected to the access point.

e System Information pane. The System Information pane is in the center at the
top of the Dashboard (if the page width on your device is sufficient; otherwise,
it might be elsewhere) and displays the following:

- System name of the access point and country or region of operation.
- Ethernet MAC address.

- The serial number.

- Device uptime.

- Firmware version.

- The date and time that the access point itself or someone manually last
checked if new firmware was available.

This pane also contains a button that you can click to check for firmware updates

for the access point (see Check for new firmware and upgrade the access point
on page 178).

 

Monitor the Access Point and the 198 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 80 of 121 PagelD #: 289

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

e IP Settings Information pane. The |P Settings Information pane is in the center

of t

he Dashboard page (if the page width on your device is sufficient; otherwise,

it might be elsewhere) and displays the following:

IP address of the access point and its DHCP status
Gateway IP address
Gateway status

Wired traffic volume

5. To view more detailed information, select Management > Monitoring > System.

System Information AP Interface Status

System Name

System Mode

WACS10 ss) a= =>
o 2
AP WAN LAN AGHZ GHZ

Wan MAC Address ‘A0-04-60-07-BC-EF

Lan MAC Address A0-04-60-07-8C-FF

Wireless MAC Address for 2.4 GHz A0-04-60-07-BC-E0

IPv4 Settings

Wireless MAC Address for 5 GHz ‘A0-04-60-07-8C-F0 IPv4 Address 492.168.100.163

Ethernet LLDP Enabled Subnet Mask 255.255.255.0

LLDP Neighbour WACSO5 Default Gateway 192.168.100.1

Country / Regie

em Mees Slates DHCP Client Enabled

Current Firmware Version V8.0.0.23

Backup Firmware Version V8.0.0.22

Bootloader Ver

rsion U-Boot-2012,07-V1.2.0.0

Serial Number BTAL685FFOO4T

Current Time

Uptime

Thu Dec 27 15:43:10 PST 2018

00 Days 23 Hrs. 00 Mins

Wireless Settings

Parameters
Wireless Mode

Channel / Freq

2.4GHz 5 GHz
ling lac

juency Auto (1)/2.412 GHz Auto (48)/5.24 GHz

The page shows four sections:

e System Information section. The following settings are displayed:

System Name. The access point NetBIOS name.
System Mode. The access point system mode (AP or Router).

Wan MAC Address. The MAC address of the WAN Ethernet port of the access
point.

Lan MAC Address. The MAC address of the LAN Ethernet port of the access
point.

Wireless MAC Address for 2.4 GHz. The MAC address of 2.4 GHz WiFi
interface (radio) of the access point.

Wireless MAC Address for 5 GHz. The MAC address of 5 GHz WiFi interface
(radio) of the access point.

Ethernet LLDP. The status of Ethernet LLDP feature (Enabled or Disabled).
LLDP Neighbour. The name of the LLDP neighbour, if any.

 

Monitor the Access Point and the 199 User Manual

Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 81 of 121 PagelD #: 290

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Country / Region. The country or region in which the access point operates
or for which the access point is licensed.

Current Firmware Version. The version of the firmware that is running on
the access point.

Backup Firmware Version. The version of the backup firmware on the access
point.

Bootloader Version. The primary bootloader (U-Boot) version that is installed
on the access point.

Serial Number. The serial number of the access point.
Current Time. The current system time of the access point.

Uptime. The time since the access point was last restarted.

e AP Interface Status. A green icon indicates that the interface is in use. A gray
icon indicates that the interface is not in use.

e IPv4 Settings section. The following settings are displayed:

IPv4 Address. The |Pv4 address of the access point.

Subnet Mask. The subnet mask of the access point.

Default Gateway. The default gateway for the access point.
DHCP Client. The status of DHCP client (Enabled or Disabled).

e Wireless Settings section. The following settings are displayed, with separate
columns for the 2.4 GHz and 5 GHz radios:

Wireless Mode. The operating WiFi mode of the radio.
Channel / Frequency. The channel and frequency that are used by the radio.

View the WiFi radio settings

To view the WiFi radio settings of the access point:

1. Opena web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

 

Monitor the Access Point and the 200 User Manual

Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 82 of 121 PagelD #: 291
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over
WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

4. Locate the Radio Information pane at the top, right corner of the Dashboard page
(if the page width on your device is sufficient; otherwise, it might be elsewhere).

Channel Width 20/40/80 MHz
Clients 1 (64)
Traffic 62.1MB

Channel Utilization

The following settings are displayed:

e Radio status (If the 2.4 GHz or 5 GHz icon is displayed as gray, the radio is turned

off.)
e Mode
e Channel

e Channel width
e Number of connected clients and maximum number of supported clients
e WiFi traffic volume

e Channel utilization

5. To view information for the 5 GHz radio, click the 5 GHz tab.
By default, information for the 2.4 GHz radio is shown.

 

Monitor the Access Point and the 201 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 83 of 121 PagelD #: 292
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

6. To view more detailed information, select Management > Monitoring > System.

System Information AP Interface Status

System Name WACS1O eS eS
System Mode at WAN LAN /AGHZ GHz
Wan MAC Address A0-04-60-07-BC-EF

Lan MAC Address A0-04-60-07-BC-FF ;

Wireless MAC Address for2.4 GHz ‘A0-04-60-07-BC-£0 evs Settings

Wireless MAC Address for 5 GHz A0-04-60-07-BC-FO IPv4 Address 192.168.100.163
Ethernet LLDP Enabled Subnet Mask 255.255.255.0
LLDP Neighbour WAGIS Default Gateway 192.168.100.1
Country / Region United States DHCP Client Enabled
Current Firmware Version v8.0.0.23

V8.0.0.22

U-Boot-2012.07-V1.2.0.0

BTAIG25FFOOAT

Thu Dec 27 15:43:10 PST 2018

00 Days 23 Hrs00 Mins

 

Wireless Settings

Parameters 2.4GHz 5 GHz
Wireless Mode ling Llac

Channel / Frequency Auto (1)/2.412 GHz ‘Auto (48)/5.24 GHz

The page shows four sections:

e System Information section. The following settings are displayed:

- System Name. The access point NetBIOS name.
- System Mode. The access point system mode (AP or Router).

- Wan MAC Address. The MAC address of the WAN Ethernet port of the access
point.

- Lan MAC Address. The MAC address of the LAN Ethernet port of the access
point.

- Wireless MAC Address for 2.4 GHz. The MAC address of 2.4 GHz WiFi
interface (radio) of the access point.

- Wireless MAC Address for 5 GHz. The MAC address of 5 GHz WiFi interface
(radio) of the access point.

- Ethernet LLDP. The status of Ethernet LLDP feature (Enabled or Disabled).
- LLDP Neighbour. The name of the LLDP neighbour, if any.

- Country / Region. The country or region in which the access point operates
or for which the access point is licensed.

- Current Firmware Version. The version of the firmware that is running on
the access point.

- Backup Firmware Version. The version of the backup firmware on the access
point.

- Bootloader Version. The primary bootloader (U-Boot) version that is installed
on the access point.

 

Monitor the Access Point and the 202 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 84 of 121 PagelD #: 293

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

Serial Number. The serial number of the access point.
Current Time. The current system time of the access point.

Uptime. The time since the access point was last restarted.

e AP Interface Status. A green icon indicates that the interface is in use. A gray
icon indicates that the interface is not in use.

e IPv4 Settings section. The following settings are displayed:

IPv4 Address. The |Pv4 address of the access point.

Subnet Mask. The subnet mask of the access point.

Default Gateway. The default gateway for the access point.
DHCP Client. The status of DHCP client (Enabled or Disabled).

e Wireless Settings section. The following settings are displayed, with separate
columns for the 2.4 GHz and 5 GHz radios:

Wireless Mode. The operating WiFi mode of the radio.
Channel / Frequency. The channel and frequency that are used by the radio.

View unknown and known neighbor access
points

If you enabled neighbor access point (AP) detection (see Manage neighbor AP detection
on page 128), you can view the unknown access points in the Unknown AP list and the
known access points in the Known AP list.

To view the detected neighbor access points:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

 

Monitor the Access Point and the 203 User Manual

Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 85 of 121 PagelD #: 294
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Monitoring > Neighbor AP.

2.4GHz:3 5GHz:2

Show 10 ~| Entries Search:

MAC Address - SsID Radio Channel RSS! Timestamp

08-00-00-00-00-00 Netgear3A21CF 5SGHz 161 94 Fri Aug 4 17:30:05 PDT
60-00-00-00-00-00 SimplePresenceNetwork 5GHz 5 GHz 44 53 Fri Aug 4 17:30:05 PDT
BO-00-00-00-00-00 RMCS-Farms 2.4 GHz 5 2 Fri Aug 4 17:09:53 PDT
FA-00-00-00-00-00 2.4 GHz 1 79 Fri Aug 4 17:34:57 PDT
FA-00-00-00-00-00 2.4 GHz 1 a7 Fri Aug 4 17:34:57 PDT

Previous 1 Next

 

At the top of the page, for each radio band, the page states the total number of
unknown access points.

5. To display the most recent unknown access points, click the Refresh button.
6. To view the Known AP list, click the Known AP tab.

2.4GHz:2 5GHz:0

Show 10 ~+| Entries Search:
MAC Address a SSID Radio Channel RSSI Timestamp
08-00-00-00-00-00 Netgear3A21CF 2.4 GHz 3 94 Fri Aug 4.17:34:57 PDT
60-33-00-00-00-00 SimplePresenceNetwork 2.4GHz 1 90 Fri Aug 4 17:34:57 PDT

Previous 1 Next

 

At the top of the page, for each radio band, the page states the total number of
known access points.

7. To display the most recent known access points, click the Refresh button.

 

Monitor the Access Point and the 204 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 86 of 121 PagelD #: 295

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

View client distribution, connected clients,
and client trends

To view the clients that are connected to the access point, either over WiFi or
through an Ethernet connection:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

Locate the Client Distribution pane (shown on the left side in the following figure)
and the Recent Clients pane (shown on the right side).

 

Fi Clients(2)
® 24GHz
Authenticated

 

 

 

 

 

Monitor the Access Point and the 205 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 87 of 121 PagelD #: 296

9.

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

The Client Distribution pane shows the types of clients (Windows, Mac, iOS, Android,
Linux, and other operating systems) and how these clients are distributed over the
networks. (By default, the Network button is selected.)

The Recent Clients pane shows the top 5 recently connected clients list.

To see how the clients are distributed over the radios, click the Radio button in the
Client Distribution pane.

The page adjusts and shows the types of clients for each radio.

To see recent clients for all networks or a single network, in the Connected Clients
pane, click the icon in the menu under Recent Clients, and select All WiFi Clients,
the clients for a specific WiFi network (SSID), or LAN Devices.

For your selection, the pane displays the total number of connected clients and the
device names of the connected clients.

To view information about a connected client, click its device name.

The page displays the MAC address, device name, IP address, and SSID (WiFi clients
only) for the client. You can also view more information, including very detailed
information (see Step 11).

To view trends about clients, scroll down to the Hours Trend pane.

 

Traffic Channel Utilization Last 48 Hours +

No Of Clients

 

The Hours Trend pane shows a graph with the number of clients, the traffic in MB,
or the channel utilization over a period that you can select. (The previous figure
shows the trend for the last 48 hours.) By default, the client information is selected
(that is, the Client button is selected) and the graph shows the total number of clients
for both radios and the number of clients for each radio (2.4 GHz and 5 GHz).

You can also click the Traffic button or the Channel Utilization button. For more
information, see View WiFi and WAN traffic, traffic and ARP statistics, and channel
utilization on page 209.

 

To view more information, point to a node on one of the lines on the graph.

10. To change the period over which information is filtered and displayed, select the

number of recent hours from the menu to the right of the buttons.

 

Monitor the Access Point and the 206 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 88 of 121 PagelD #: 297
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

11. To view more information about currently connected WiFi and wired clients, select
Management > Monitoring > Connected Clients.

Wireless Clients

2.4 GHz Clients : 1 (64) Show | 10 + Entries
# SSID * — MAC Address IP Address Host Name os Mode
WAC510_NetworkB C0-BO- android-
- 192.168.100.102 GenericAndroid 11NG
eam CO-BO-FO-FO 4526384f777TTT TTT

Previous 1 Next
5 GHz Clients : 0 (64)

# SSID MAC Address IP Address Host Name Os Mode

No Available Clients

 

By default, the Wireless Clients tab is selected and the connected WiFi clients
display. (For information about wired clients, see Step 13).

For each radio, the page displays the number of connected clients and the maximum
number of supported clients.

For each radio and each WiFi client, the page displays the SSID, MAC address, IP
address, host name, operating system (OS), and WiFi mode.

 

Monitor the Access Point and the 207 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 89 of 121 PagelD #: 298

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

12. To view very detailed information about a WiFi client, do the following:

a. Click the information icon to the left of the client.
The Detailed Client Information page displays and shows the following
information:

MAC Address. The MAC address of the client.

IP Address. The IP address associated with the client.

Host Name. The host name of the client.

OS. The operating system that runs on the client.

BSSID. The BSSID that the client connects to.

SSID. The SSID of the radio that the client connects to.
Channel. The channel that the client connects to.

Channel Width. The width of the channel that the client connects to.
Tx Rate. The rate of traffic transmission of the client.

Rx Rate. The rate of traffic reception of the client.

RSSI. The RSSI threshold value of the client.

Tx Bytes. The number of bytes that the client transmitted.

Rx Bytes. The number of bytes that the client received.

State. The QoS state of the connection.

Type. The type of WiFi security that is used for the connection.
Device Type. The type of device that the client is.

Mode. The WiFi mode of the connection.

Status. The security status of the connection.

Idle Time. The time that the client remained idle.

Assoc Time Stamp. The time that is associated with the information on the
Detailed Client Information page.

b. Click the Close button.
The Detailed Client Information page closes.

 

Monitor the Access Point and the 208 User Manual

Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 90 of 121 PagelD #: 299
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

13. To view information about the wired clients, click the Wired Clients tab.

Wired Show 10 ~. Entries

# MAC Address = Host Name IP Address Os

Windows Vista/T or
Server 2008

1 T4:86:34:34:34:34 S 192.168.100.125

Previous 1 Next

For each wired client, the page displays the MAC address, host name, IP address,
and operating system (OS).

14. To display the most recent information, click the Refresh button.

View WiFi and WAN traffic, traffic and ARP
statistics, and channel utilization

To view WiFi and WAN (wired) traffic, traffic and ARP statistics, and channel
utilization:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

Monitor the Access Point and the 209 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 91 of 121 PagelD #: 300

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

4. Scroll down to the Hours Trend pane at the bottom of the Dashboard page.

By default, the Clients button is selected.

Trend @ wan @ WiFi @ 2.4GHz [ml SGHz q ers 3 Traffic Channel Utilization Last 48 Hours +

R

Traffic (KBPS)

. To view traffic information, do the following:

a. Click the Traffic button.
The graph shows the information for WAN (wired) traffic, total WiFi traffic, WiFi
traffic for the 2.4 GHz radio, and WiFi traffic for the 5 GHz radio.

b. To view more information, point to a node on one of the lines on the graph.

. To view channel utilization, do the following:

a. Click the Channel Utilization button.
The graph shows the channel utilization for the 2.4 GHz radio.

b. To view the channel utilization for the 5 GHz radio, click the 5 GHz button.

c. To view more information, point to a bar.

. To change the period over which information is filtered and displayed, select the
number of recent hours from the menu to the right of the buttons.

. To view traffic statistics, select Management > Monitoring > Statistics.

Wireless WAN
aaa ae Parameter Received Transmitted
Parameters.
Received Transmitted Received Transmitted
Packets 3648874 3435862
Unicast Packets 24435 22610 11315 20385
Bytes 829116224 TOT097022
Broadcast Packets 1122 12504 B 12232
Multicast Packets 13449 36607 183 22453
Total Packets 39006 71721 11511 55070
Total Bytes 9667656 18692443 1670672 32163299

Number of Clients 0 0

 

The page displays the network traffic statistics for both the WiFi and wired (Ethernet)
interfaces of the access point since the access point started or rebooted. The page
also displays the number of clients that are associated with each radio.

 

Monitor the Access Point and the 210 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 92 of 121 PagelD #: 301

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If the ARP proxy is enabled (see Manage the ARP proxy on page 104), the page also
displays the ARP statistics, including the number of proxied and dropped packets.

ARP Statistics
ARP Packets Received Proxied ARP's. ARP Packets Dropped

631 16 631

9. To display the most recent information, click the Refresh button.

View or download tracked URLs

If you enabled URL tracking for a WiFi network (see Enable or disable URL tracking for
a WiFi network on page 62), you can view the tracked URLs by URL, WiFi client, and
SSID. You can also download a URL tracking report as a . csv file.

To view or download tracked URLs:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

Monitor the Access Point and the 211 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 93 of 121 PagelD #: 302
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

4. Select Management > Monitoring > URL Tracking.

URL '~|

List by [eal]

URL Clients SSIDs Hit-Count
connectivitycheck.android. CO-BD-D1-B0-F0-F1... NETGEAR-1... 2
clients3.google.com CO-BD-D1-B0-FO-F1.. NETGEAR-1.. 1
g.whatsapp.net CO-BD-D1-B0-F0-F1... NETGEAR-1... 1
matt-mini.facebook.com CO-BD-D1-B0-F0-F1... NETGEAR-1.. 1
android.googleapis.com CO-BD-D1-B0-F0-F1... NETGEAR-1.. 1
app.bugfender.com CO-BD-D1-B0-F0-F1... NETGEAR-1... i
mtalk.google.com CO-BD-D1-B0-F0-F1... NETGEAR-1... 1
connectivitycheck.gstatic. CO-BD-D1-B0-F0-F1.. NETGEAR-1... 1
www.msftncsi.com CO-BD-D1-B0-F0-F1... NETGEAR-1... 1
us.norton.com CO-BD-D1-B0-F0-F1... NETGEAR-1... 1

Previous 1 2 3 4 5 6 Next View All

4 | Ht, EE

 

 

By default, the table shows the URLs that were accessed, each with the MAC address
of the WiFi client that accessed the URL, the associated SSID, and the number of
times that the WiFi client accessed the URL.

5. To view additional information, click the ... link to the right of a MAC address or
SSID.

6. To view URL tracking information by WiFi client, do the following:

a. From the menu, select Client.
The table shows the MAC addresses of the WiFi clients, each with the client host
name, and the first URL of the list of URLs that the client accessed.

b. To view all URLs that a WiFi client accessed, click the ... link to the right of the
first URL.
A pop-up window opens and displays all URLs that the WiFi client accessed.

c. Click the Close button.
The pop-up window closes.

 

Monitor the Access Point and the 212 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 94 of 121 PagelD #: 303
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

7. To view URL tracking information by SSID, do the following:

a. From the menu, select SSID.
The table shows the SSIDs and the first URL of the list of URLs that were accessed

on the SSID.

b. To view all URLs that were accessed on the SSID, click the ... link to the right of
the first URL.
A pop-up window opens and displays all URLs that the were accessed on the
SSID.

c. Click the Close button.
The pop-up window closes.

8. To download a URL tracking report as a . csv file, click the Download button, and
follow the directions of your browser.
9. To clear all URL tracking information, do the following:
a. Click the Clear button.
A pop-up warning window opens.

b. Click the OK button.
The pop-up window closes and the information is cleared.

View, save, download, or clear the logs

You can view and manage the activity logs of the access point. You can also download
a detailed log file.

Note: If the access point functions in the NETGEAR Insight management mode, you
can also view and manage the cloud activity logs, which show the connection of the
access point to the Insight cloud-based management platform. If the access point
functions in the NETGEAR Insight management mode, this is option is available from
the Dashboard page by selecting Management > Monitoring > Cloud Logs.

To view, save, download, or clear the logs:

1. Opena web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

 

Monitor the Access Point and the 213 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 95 of 121 PagelD #: 304
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Monitoring > Logs.

Tue May 31 18:00:04 MOT 2016 BusyBox v1.22.1

Tue May 31 18:00:06 MDT 2016 kernel: [ 0.164880] msm_bus_fabric_init_driver

Tue May 31 18:00:06 MDT 2016 kernel: [ 0.165044] msm_bus_device 580000.ad-hoc-bus: Dev 4096

Tue May 31 18:00:06 MDT 2016 kernel: [ 0.165102] msm_bus_device 580000.ad-hoc-bus:
get_bus_node_device_data:Failed to get bus clk for bus4096 ctx0

Tue May 31 18:00:06 MDT 2016 kernel: [ 0.165118] msm_bus_device 580000.ad-hoc-bus: Failed to get bus clk for
bus4096 ctx1

Tue May 31 18:00:06 MDT 2016 kernel: [ 0.165153] msm_bus_device 580000.ad-hoc-bus: Dev 1024

Tué May 31 18:00:06 MOT 2016 kernel: [ 0.165205] msm_bus_device 580000.ad-hoc-bus:
get_bus_node_device_data:Failed to get bus clk for busi024 ctx0

Tue May 31 18:00:06 MDT 2016 kernel: [ 0.165221] msm_bus_device 580000.ad-hoc-bus: Failed to get bus clk for
bus1024 ctx1

Tue May 31 18:00:06 MDT 2016 kernel: [ 0.191342] pcie_init: pcie_init: unable to create IPC log context for pcieO-short
Tue May 31 18:00:06 MDT 2016 kernel: [ 0.191356] pcie_init: pcie_init: unable to create IPC log context for pcie0-long
Tue May 31 18:00:06 MDT 2016 kernel: [ 0.211847] msm_serial_hsl_probe: Bus scaling is disabled

Tue May 31 18:00:06 MDT 2016 kernel: [ 0.228676] sps: BAM device 0x07884000 is not registered yet.

Tue May 31 18:00:06 MOT 2016 kernel: [ 2.289272] mtdsplit: no squashfs found in 'rootfs'

Tue May 31 18:00:06 MDT 2016 kernel: [ 2.289272] mtdsplit: no squashfs found in 'rootfs'

Tue Mav 31 18:00:06 MDT 3016 kernel: [ 2.229979] mtdsnlit: no sauashfs found in ‘rantts*

 

 

The page shows the following information for each log entry:

e Date and time. The date and time that the entry was logged.
e Action. The action that occurred, such as whether a WLAN connection was made.

e Source. The name, IP address, or MAC address of a source device, application,
or website, if applicable.

e Target. The name, IP address, or MAC address of a target device, application,
or website, if applicable.

 

Monitor the Access Point and the 214 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 96 of 121 PagelD #: 305

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

To save the logs, do the following:
a. Click the Save button.

b. Follow the directions of your browser to save the file to your computer.

To download the detailed log entries, do the following:

a. Click the Download Detailed Logs button.
Depending on the size of the file, downloading the detailed log entries might
take several minutes.

b. Follow the directions of your browser to save the file to your computer.

To refresh the log entries onscreen, click the Refresh button.

After you clear the log entries, you can no longer save or download
them.

To clear the log entries, click the Clear button.

View a WiFi bridge connection

You can view whether a WiFi bridge is established and view the function (master or
slave), MAC addresses, and IP addresses of the access points that form the WiFi bridge.

To view a WiFi bridge connection:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

 

Monitor the Access Point and the 215 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 97 of 121 PagelD #: 306

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Monitoring > Wireless Bridge.

v WDS1 Netgear-WDS-1

2 tener, |

Netgear07BCEF Netgear3A21CF

5. To view the function, MAC address, and IP address of an access point, point to the

access point.

View the data volume consumption

If you enabled data limits for one or more WiFi networks (see Set a data volume limit
forthe access point on page 106), you can view the data volume consumption and volume
status details.

To view the data volume consumption and volume status details:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

Enter the IP address that is assigned to the access point.
A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

 

Monitor the Access Point and the 216 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 98 of 121 PagelD #: 307
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

The Dashboard page displays.
4. Select Management > Monitoring > Data Volume Limit.

Start date and time Jun 22 2018 14:08:33

Current date and time Jun 23 2018 12:46:30

Total volume left (MB) 19999.04
Profile Allocated Data (MB) Uploaded Data (MB) Downloaded Data (MB) Total Consumption (MB)
NETGEAR-1 20000 0.30 0.96 1.26
NETGEAR-2 12000 0.00 0.00 0.00

 

At the top, the page states the start date and time of the data volume counter, the
current date and time, and the total volume that is left in relation to the data volume
limit that you set.

For each SSID, the table shows the allocated data (which is the allocated SSID
percentage of the total monthly data volume limit that you set), the uploaded and
downloaded data, and the total data consumption.

5. To view details about the volume, do the following:

a. Click the Volume Status button.
A pop-up window opens and, for each SSID, displays details in a graphic.

b. Click the X in the upper right corner.
The pop-up window closes.

6. To display the most recent information, click the Refresh button.

View alarms and notifications

You can view the alarms and notifications from any access point page. The following
procedure describes how you can view them from the Dashboard page.

To view the alarms and notifications:

1. Opena web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

 

Monitor the Access Point and the 217 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 99 of 121 PagelD #: 308
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manua

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.
The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Locate the alarm bell icon at the top right of the page.

The icon shows a number, indicating the total number of new alarms and notifications
since the last time that you viewed alarms and notifications.

5. Click the alarm bell icon.

Reboot Reason: Country Changed
1:28 pen Feb 4th, Monday 2019

Rado S6Hz2 On

1:20 pm Feb #ith, Monday 2018 *
Radio 2.4GHz On a
120 per. Feb 4th, Monday 2079

System UP a

1:28 pen Feb 4th, Monday 2019

The pop-up window shows the alarms (indicated by a red bell) and notifications
(indicated by a blue bell) with a description and time.

6. To view more alarms and notification, scroll down in the pop-up window.

 

Monitor the Access Point and the 218 User Manual
Network
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 100 of 121 PagelID #: 309

Diagnostics and Troubleshooting

 

This chapter describes how you can capture WiFi packets and troubleshoot the access
point and network.

The chapter includes the following sections:

e Capture WiFi and Ethernet packets

e Performa ping test

e Check the Internet speed

e Quick tips for troubleshooting

e Troubleshoot with the LEDs

e Troubleshoot the WiFi connectivity

e Troubleshoot Internet browsing

e You cannot log in to the access point over a LAN connection
e Changes are not saved

e You enter the wrong password and can no longer log in to the access point
e Troubleshoot your network using the ping utility

 

219
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 101 of 121 PagelD #: 310
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

Capture WiFi and Ethernet packets

You can capture WiFi and Ethernet packets that are received and transmitted by the
access point and save the file with captured packets to your computer. During the packet
capture process, normal functioning of the access point is not affected.

The packet capture capability can be useful for analyzing a WiFi deployment, monitoring
a WiFi network, debugging protocols, determining WiFi network bottlenecks, and, in
general, troubleshooting any irregularities in a WiFi network.

You can select to capture all packets or selected packets only.

Note: To view the captured packets, you need an application that can open .pcap
files.

To capture packets:

1. Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message

and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

 

Diagnostics and 220 User Manual
Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 102 of 121 PagelD #: 311
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

4. Select Management > Diagnostics > Packet Capture.

 

Current Capture Status

Not Running

Settings

Capture Interface

brtrunk

Client Filter [|

00-00-00-00-00-00

Packet Capture Time Packet Capture File Size

00:00:00 OKB

Max. Capture File Size (64-4096 KB) Promiscuous Capture
1024 © Enable ©@) Disable

Capture Duration (10-3600 secs)

300

5. Specify the settings that are described in the following table.

Setting

Capture Interface

Max. Capture File Size
(64-4096 KB)

Promiscuous Capture

Client Filter

Description

From the Capture Interface menu, select one of the following interfaces on which

packets must be captured:

e brtunk. All packets are captured, that is, packets on the Ethernet interfaces, 2.4
GHz radio, and 5 GHz radio. This is the default setting.

e EthO. Only packets on the WAN Ethernet interface are captured.
e Eth1. Only packets on the LAN Ethernet interface are captured.
e radio1. Only packets on the 2.4 GHz radio are captured.

e radio2. Only packets on the 5 GHz radio are captured.

Enter the maximum size that the file with captured packets is limited to. The range
is from 64 to 4096 KB. The default is 64 KB.

To enable the access point to capture packets in promiscuous mode, select the
Enable check box. By default, promiscuous mode is disabled.

In promiscuous mode the radio or radios receive all traffic on the channel, including
traffic that is not destined for the access point. While the radio or radios are operating
in promiscuous mode, they continue to serve associated clients. Packets that are not
destined for the access point are not forwarded. When the capture process stops,

the radio or radios revert to nonpromiscuous mode.

To capture packets for a specific client only, select the Client Filter check box and
enter the client's MAC address in the Client Filter MAC Address field.

 

Diagnostics and
Troubleshooting

221 User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 103 of 121 PagelD #: 312

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

(Continued)

Setting Description
Client Filter MAC If you select the Client Filter check box, enter the client's MAC address to capture
Address the packets only for the specific client on the selected interface.

You must enter the MAC address in hexadecimal format with each octet separated
by a hyphen, for example 00-1 1-22-33-44-55.

Capture Duration Enter the maximum duration of the capture process (that is, if you do not click the
(10-3600 secs) Stop button).
The range is from 10 to 3600 seconds. By default, the maximum duration is 60

seconds.

To start the packet capture process, click the Start button.

If any captured packets are already stored on the access point, you are prompted
to allow the packet capture process to overwrite the old information.

7. To stop the packet capture process, click the Stop button.

To download the file with captured packets, do the following:
a. Click the Download button.

b. Follow the directions of your browser to save the file to your computer.

To display the latest information on the page, click the Refresh button.

Perform a ping test

You can ping the IP address of a device or network location from the access point and
view the results of the ping test.

To perform a ping test:

1.

Open a web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

 

2. Enter the IP address that is assigned to the access point.
A login window opens.
If your browser does not open the login window but displays a security message
and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.

Diagnostics and 222 User Manual

Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 104 of 121 PagelD #: 313
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.

If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over

WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).

The Dashboard page displays.

4. Select Management > Diagnostics > Ping Test.

Ping Count 16 Packet Size(in Bytes)
Ping Interval(in sec) 1 Ping Timeout(in sec)

Remote Host

Ping Result

 

5. Specify the settings that are described in the following table.
Setting Description
Ping Count The number of pings that the access point must send. The default number is 16.
Packet Size (in Bytes) The size of each ping packet. The default size is 64 bytes.
Ping Interval (in sec) The interval between pings. The default interval is 1 second.
Ping Timeout (in sec) The period after which a ping times out. The default period is 60 seconds.

Remote Host The IP address that the access point must ping.

6. To start the ping test, click the Start button.
The results of the ping test display in the Ping Result field.

7. To stop the ping test before the ping count is reached or if the ping times out, click
the Stop button.

 

Diagnostics and 223 User Manual
Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 105 of 121 PagelD #: 314

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

Check the Internet soeed

You can check the Internet speed of the access point. The results might be helpful if
you want to set bandwidth rate limits (see Set bandwidth rate limits for a WiFi network
on page 66).

To check the Internet speed:

 

 

1. Opena web browser from a computer that is connected to the same network as the
access point or directly to the access point through an Ethernet cable or WiFi
connection.

2. Enter the IP address that is assigned to the access point.

A login window opens.

If your browser does not open the login window but displays a security message
and does not let you proceed, see Log in to the access point after initial setup on
page 41.

3. Enter the access point user name and password.
The user name is admin. The password is the one that you specified the first time
that you logged in. The user name and password are case-sensitive.
If you previously added the access point to a NETGEAR Insight network location and
managed the access point through the Insight app or Insight Cloud portal, enter the
Insight network password for that location. For more information, see Connect over
WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
26).
The Dashboard page displays.

4. Select Management > Diagnostics > Speed Check.
The Internet Speed Check page displays.

5. Click the Test Speed button.
The Privacy Policy pop-up window opens.

6. Click the Agree button.

The pop-up window closes. After a short delay, the page displays the measured
latency in ms, download speed in Mbps, and upload speed in Mbps.

7. To view the test history, click the View History link.

A table shows the results of previous tests.
Diagnostics and 224 User Manual

Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 106 of 121 PagelID #: 315

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

Quick tips for troubleshooting

If your network is unresponsive or does not function normally, restart your network:

1.

Unplug the Ethernet cable from the access point to your network switch or Internet
modem.

2. If you use a power adapter, disconnect it from the access point.

3. Plug in the Ethernet cable from the access point to your network switch or Internet

4.

modem. Wait two minutes.

If you use a power adapter, connect it to the access point and wait two minutes.

If you cannot connect over WiFi to the access point, try the following:

Make sure that the WiFi LED on the access point is not off.
If the WiFi LED is off, one or both WiFi radios are probably off too. For more
information about the WiFi radios, see Turn a radio on or off on page 83.

Make sure that the WiFi settings in your WiFi device and access point match exactly.
For a device that is connected over WiFi, the WiFi network name (SSID) and WiFi
security settings of the access point and WiFi device must match exactly.

For information about accessing the access point for initial configuration over a WiFi

connection, see Connect to the access point for initial configuration on page 25.

Make sure that your WiFi device supports the security that you are using for your
WiFi network (WPA2 Personal or WPA2 Personal Mixed). For more information, see

View or change the settings of a WiFi network on page 52.

Make sure that your WiFi device is not too far from the access point or too close. To
see if the signal strength improves, move your WiFi device near the access point but
at least 6 feet (1.8 meters) away.

Make sure that the WiFi signal is not blocked by objects between the access point
and your WiFi device.

Make sure that the access point’s SSID broadcast is not disabled.

If the access point's SSID broadcast is disabled, the WiFi network name is hidden
and does not display in your WiFi device’s scanning list. To connect to a hidden
network, you must enter the network name and the WiFi password. For more
information about the SSID broadcast, see Hide or broadcast the SSID for a WiFi

network on page 57.

Make sure that your WiFi device does not use a static IP address but is configured
to receive an IP address automatically with DHCP. (For most devices, DHCP is the
default setting.)

 

Diagnostics and 225 User Manual
Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 107 of 121 PagelD #: 316
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

If you cannot connect over an Ethernet cable to the access point, try the following:

e Make sure that the Ethernet cables are securely plugged in.

e Make sure that your network includes a DHCP server that can issue an IP address to
the access point or, if your access point requires a fixed (static) IP address, that the
IP address and subnet are correct.

Troubleshoot with the LEDs

When you turn on the power, the LEDs light as described here:

1. The Power LED lights solid amber. After about one minute, the Power LED turns
solid green, indicating that the startup procedure is complete and the access point
is ready.

2. When the startup procedure is complete, verify the following:
e The WAN PoE LED lights solid amber or solid green.

e The lnsight LED lights solid blue or solid green (see Top panel with LEDs on page
14).

e The 2.4G WLAN LED, 5G WLAN LED, or both LEDs light solid green or solid blue
or blink blue (unless one or both WiFi radios are turned off).

e If aLAN device is connected to the LAN port, the LAN LED lights solid amber or
solid green.

You can use the LEDs for troubleshooting. For more information, see the following
sections:

e Power LED is off on page 227

e Power LED remains solid amber on page 227

e Power LED is blinking amber continuously on page 228

e Insight LED is off on page 228
e 2.4G or 5G WLAN LED is off on page 229

e WAN PoE LED or LAN LED is off while a device is connected on page 229

 

Diagnostics and 226 User Manual
Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 108 of 121 PagelD #: 317

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

Power LED is off

If you use a Power over Ethernet (PoE) connection and the Power LED and other LEDs
are off when the Ethernet cables are connected, do the following:

Make sure that the Ethernet cable between the access point and the PoE switch is
correctly connected at both ends.

Make sure that the other end of the Ethernet cable is plugged into a PoE port (not
a non-PoE port) on a PoE switch (not a non-PoE switch) that is receiving power.

Make sure that the PoE power budget of the PoE switch is not oversubscribed and
that the PoE switch is capable of delivering PoE power to the access point.

If you use a power adapter and the Power LED and other LEDs are off when the access
point is turned on, do the following:

Make sure that the power adapter is correctly connected to the access point and
that the power adapter is correctly connected to a functioning power outlet. If it is
in a power strip, make sure that the power strip is turned on. If it is plugged directly
into the wall, verify that the outlet is not switched off.

Make sure that you are using the NETGEAR 12V, 2.5A power adapter for this product.

If the error persists, a hardware problem might exist. For recovery instructions or help
with a hardware problem, contact technical support at netgear.com/support.

Power LED remains solid amber

When you turn on the power to the access point, the Power LED lights solid amber
temporarily and then turns solid green, indicating that the startup procedure is complete
and the access point is ready.

If the Power LED remains solid amber and does not turn solid green, a failure occurred
or the access point is malfunctioning.

If the Power LED does not turn solid green, do the following:

1.

Turn the power off and back on and wait several minutes to see if the access point
recovers.

If the access point does not recover, you can use the Reset button to return the
access point to its factory default settings. For more information, see Use the Reset

button to reset the access point on page 189.

If the error persists, a hardware problem might exist. For recovery instructions or help
with a hardware problem, contact technical support at netgear.com/support.

 

Diagnostics and 227 User Manual
Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 109 of 121 PagelD #: 318
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

Power LED is blinking amber continuously

When you turn on the power to the access point, the Power LED lights solid amber
temporarily and then turns solid green, indicating that the startup procedure is complete
and the access point is ready. During regular operation, the only time that the Power
LED blinks amber temporarily is when firmware is being upgraded.

If the Power LED blinks amber continuously and does not turn solid green, the access
point did not receive an IP address from a DHCP server.

Check to make sure that the DHCP client of the access point is enabled (see Enable the
DHCP client on page 143), that your network includes a DHCP server (or a router that
functions as a DHCP server), and that the DHCP server can reach the access point (both
must be on the same network).

In the unlikely situation that your network does not include a DHCP server, you might
need to configure a fixed (static) IP address on the access point (see Disable the DHCP
client and configure a LAN or WAN IP address on page 137).

Insight LED is off

If the WAN PoE port of the access point is connected to a PoE switch, non-PoE switch,
or Internet modem and the WAN PoE LED lights amber or green but the Insight LED is
off, the access point functions either in the PC Web-browser mode or in the NETGEAR
Insight App mode but is not connected to the Insight cloud-based management platform.

If the access point functions in the PC Web-browser mode, the Insight LED is off. This
is normal LED behavior.

If the access point functions in the NETGEAR Insight App mode but the Insight LED is
off, do the following:

1. Verify that the management mode of the access point is indeed the NETGEAR Insight
App mode.

For more information, see Change the management mode to NETGEAR Insight or
Web-browser on page 168.

2. Make sure that the cable connections between the access point and your network
are good.

3. Make sure that the access point is connected to the Internet and that the Internet
connection is good.

4. Make sure that the access point is running the latest firmware.
For more information, see Manage the firmware of the access point on page 178.

5. Restart the access point and wait five minutes to see if the Insight LED lights solid
blue.

 

Diagnostics and 228 User Manual
Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 110 of 121 PagelD #: 319
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

If you use a power adapter with the access point, disconnect and reconnect the
power adapter and wait five minutes to see if the Insight LED lights solid blue.

6. Use the Reset button to return the access point to its factory default settings.

For more information, see Use the Reset button to reset the access point on page
189.

If the error persists, a hardware problem might exist. For recovery instructions or help
with a hardware problem, contact technical support at netgear.com/support.

2.4G or 5G WLAN LED is off
If the 2.4G WLAN LED or 5G WLAN LED is off, do the following:

e Check to see if a radio is disabled (see Turn a radio on or off on page 83). By default,
both radios are enabled and the WLAN LEDs light solid green or solid blue or blink
blue.

e Ifyou are using a Power over Ethernet (PoE) connection, make sure that the PoE
switch is providing sufficient power to the access point. Insufficient PoE power can
affect the radios.

If the error persists, a hardware problem might exist. For recovery instructions or help
with a hardware problem, contact technical support at netgear.com/support.

WAN PoE LED or LAN LED is off while a device is connected

When a powered-on network device such as a PoE switch, non-PoE switch, or Internet
modem is connected to the WAN PoE port of the access point, the WAN PoE LED lights
amber or green, depending on the speed of the connection. Similarly, when a network
device such as a switch, hub, or computer is connected to the LAN port of the access

point, the LAN LED lights amber or green, depending on the speed of the connection.

If the WAN PoE LED or LAN LED remains off, a hardware connection problem might be
occurring. Check these items:

e Make sure that the Ethernet cable connectors are securely plugged in at the access
point and the network device.

e Make sure that the connected network device is actually turned on.

e Make sure that you are using the correct Ethernet cable. Use a standard Category
5 Ethernet patch cable. If the network device incorporates Auto Uplink™ (MDI/MDIX)
ports, you can use either a crossover cable or a normal patch cable.

 

Diagnostics and 229 User Manual
Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 111 of 121 PagelD #: 320
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

Troubleshoot the WiFi connectivity

If you are experiencing trouble connecting over WiFi to the access point, try to isolate
the problem:

e Make sure that the WiFi settings in your WiFi device and access point match exactly.
For a device that is connected over WiFi, the WiFi network name (SSID) and WiFi
security settings of the access point and WiFi device must match exactly.

For information about accessing the access point for initial configuration over a WiFi

connection, see Connect to the access point for initial configuration on page 25.

e Does the WiFi device that you are using find your WiFi network?
If not, check the WLAN LEDs. If a WLAN LED is off, the associated WiFi radio is
probably off, too. For more information about the WiFi radios, see Turn a radio on
or off on page 83.

e Ifyou disabled the access point's SSID broadcast, your WiFi network is hidden and
does not display in your WiFi client's scanning list. (By default, SSID broadcast is
enabled.) For more information about the SSID broadcast, see Set up and manage
WiFi networks on page 45.

e Does your WiFi device support the security that you are using for your WiFi network
(WPA2 Personal or WPA2 Personal Mixed). For more information, see Set up and

manage WiFi networks on page 45.

Tip: If you want to change the WiFi settings of the access point’s network, use a
wired connection to avoid being disconnected when the new WiFi settings take
effect.

If your WiFi device finds your network but the signal strength is weak, check these
conditions:

e ls your access point too far from your WiFi device, or too close? Place your WiFi
device near the access point, but at least 6 feet (1.8 meters) away, and see whether
the signal strength improves.

e Are objects between the access point and your WiFi device blocking the WiFi signal?

Troubleshoot Internet browsing

If your computer or WiFi device is connected to the access point but unable to load any
web pages from the Internet, it might be for one of the following reasons:

e Your computer might not recognize any DNS server addresses.

 

Diagnostics and 230 User Manual
Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 112 of 121 PagelD #: 321
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

If you manually entered a DNS address when you set up the access point (that is,
the access point uses static IP address settings), reboot your computer and verify
the DNS address. Alternatively, you can configure your computer manually with DNS
addresses, as described in your operating system documentation.

e Your computer might not use the correct TCP/IP settings.
If your computer obtains its information by DHCP, reboot the computer and verify
the address of the switch or Internet modem to which the access point is connected.
For information about TCP/IP problems, see Troubleshoot your network using the

ping utility on page 233.

You cannot log in to the access point over a
LAN connection

If you are unable to log in to the access point from a computer on your local network
and use the access point’s local browser interface, check the following:

e Ifyou are using an Ethernet-connected computer, check the Ethernet cable between
the computer and the access point.

e Make sure that the IP address of your computer is in the same subnet as the access
point.
If you disabled the access point’s DHCP client and configured a fixed (static) IP
address when you connected the access point to your network or Internet modem
(see Disable the DHCP client and configure a LAN or WAN IP address on page 137),
change the IP address and subnet mask on your computer to so that the IP addresses
of your computer and the access point are in the same IP subnet.

e If your access point’'s IP address was changed (for example, the DHCP server in your
network issued an IP address to the access point) and you do not know the current
IP address, use an IP scanner application to detect the IP address. If you still cannot
find the IP address, reset the access point's configuration to factory defaults. This
sets the access point's IP address to 192.168.0.100. For more information, see Use

the Reset button to reset the access point on page 189.

e Make sure that Java, JavaScript, or ActiveX is enabled in your browser. If you are

using Internet Explorer, click the Refresh button to be sure that the Java applet is
loaded.

e Try quitting the browser and launching it again.

e Make sure that you are using the correct login information. The user name is admin
and the password is the one that you specified the first time that you logged in. Make
sure that Caps Lock is off when you enter this information.

 

Diagnostics and 231 User Manual
Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 113 of 121 PagelID #: 322
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

Changes are not saved

If you are logged in to the access point's local browser interface and the access point
does not save the changes that you make on a page, do the following:

e When entering configuration settings, always click the Apply button before moving
to another page or tab or your changes are lost.

e Click the Refresh or Reload button in the web browser. It is possible that the changes
occurred but that the old settings remain in the web browser's cache.

You enter the wrong password and can no
longer log in to the access point

If you enter the wrong admin password three or more times, access to the access point's
local browser interface is blocked for a period. For example, if you enter the wrong
password three times, access to the access point is blocked for five minutes.

The blockage period depends on the number of failed login attempts. During the
blockage period, any attempts to log in to the access point are ignored, even if you
enter the correct password. You must wait until the blockage is lifted, and then you get
a single opportunity to enter the correct password. If you enter the wrong password
again, the blockage period is extended as described in the following table.

Table 2. Login blockage periods

Number of failed Blockage period in
attempts minutes

3 5

4 10

5 20

6 40

And so on And so on

In addition, the following rules apply to the number of failed login attempts:

e Ifthe number of failed login attempts is smaller than the number of allowed retry
attempts, the counter for failed login attempts is reset after 30 minutes. For example,

 

Diagnostics and 232 User Manual
Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 114 of 121 PagelD #: 323

Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

if you enter the wrong password twice but enter the correct password at the third
login attempt, the two failed login attempts are erased from memory after 30 minutes.

If the number of failed login attempts is larger than the number of allowed retry
attempts, the counter for failed login attempts is reset after 24 hours. For example,
if you enter the wrong password five times but enter the correct password at the
sixth login attempt, the five failed login attempts are erased from memory after 24
hours.

The last access attempt determines whether the counter for failed login attempts is
increased.

If you reboot the access point, the counter for failed login attempts is reset.

Troubleshoot your network using the ping
utility

Most network devices and routers contain a ping utility that sends an echo request
packet to the designated device. The device then responds with an echo reply. You can
easily troubleshoot a network using the ping utility in your computer or workstation.

Test the LAN path to your access point

You can ping the access point from your computer to verify that the LAN path to your
access point is set up correctly.

To ping the access point from a Windows-based computer:

1.
2.

From the Windows taskbar, click the Start button and select Run.

In the field provided, enter ping followed by the IP address of the access point, as
in this example:

ping 192.168.0.100

Click the OK button.
A message such as the following one displays:

Pinging <IP address> with 32 bytes of data

If the path is working, you see this message:

Reply from < IP address >: bytes=32 time=NN ms TTL=xxx
If the path is not working, you see this message:

Request timed out

 

Diagnostics and 233 User Manual
Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 115 of 121 PagelD #: 324
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

Ifthe path is not functioning correctly, one of the following problems might be occurring:

e Wrong physical connections
For a wired connection, make sure that the numbered LAN LED is lit for the port to
which you are connected.
Check that the appropriate LEDs are on for your network devices. If your access
point and computer are connected to a separate Ethernet switch, make sure that
the link LEDs are lit for the switch ports that are connected to your computer and
access point.

e Wrong network configuration
Verify that the Ethernet card driver software and TCP/IP software are both installed
and configured on your computer.
Verify that the IP address for your access point and your computer are correct and
that the addresses are in the same subnet.

Test the path from your computer to a remote device

After you verify that the LAN path works correctly, test the path from your computer to
a remote device.

To test the path from your computer to a remote device:

1. From the Windows toolbar, click the Start button and select Run.

2. Inthe field provided, enter ping -n 10 /P address.
IP address is the IP address of a remote device such as a remote DNS server.

If the path is functioning correctly, replies as described in Test the LAN path to your
access point on page 233 display. If you do not receive replies, do the following:

e Check to see that your computer lists the IP address of the router to which the access
point is connected as the default router. If the IP configuration of your computer is
assigned by DHCP, this information is not visible in your computer's Network Control
Panel.

e Check to see that the network address of your computer (the portion of the IP address
specified by the netmask) is different from the network address of the remote device.

 

Diagnostics and 234 User Manual
Troubleshooting
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 116 of 121 PagelID #: 325

A

Factory Detault Settings and
Technical Specifications

 

This appendix includes the following sections:

e Factory default settings
e Technical specifications

 

235
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 117 of 121 PagelD #: 326
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

Factory default settings

You can reset the access point to the factory default settings, which are shown in the
following table.

For more information about resetting the access point to its factory settings, see Return
the access point to its factory default settings on page 189.

Table 3. Factory default settings

Feature Default Setting

Management and login settings

Management mode NETGEAR Insight management mode
User login URL 192.168.0.100

User name (case-sensitive) admin, nonconfigurable

Login password password, configurable
(case-sensitive)

General system settings

Operating mode AP mode
By default, Router mede is disabled, including NAT and the DHCP server function.

DHCP client Enabled so that the access point receives an IP address from a DHCP server or router
in the network.

NTP client Enabled

Spanning Tree Protocol Disabled

Network integrity check Disabled

802.10 VLAN Untagged VLAN with VLAN ID 1
Management VLAN VLAN ID 1

Syslog Disabled

Ethernet LLDP Enabled

UPnP Enabled

LEDs Enabled

WiFi network settings for initial setup

SSID name SSID for initial setup is NETGEARwo00x-SETUP, where »000x is the last six hexadecimal
digits of the access point’s MAC address.

 

Factory Default Settings and 236 User Manual
Technical Specifications
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 118 of 121 PagelD #: 327
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

Table 3. Factory default settings (Continued)

Feature

Security

RF channel

Default Setting

WPA2 Personal (which is WPA2-PSK)
WiFi password (network key): sharedsecret

Auto. The available channels depend on the region.

WLAN settings for an individual WiFi network (SSID or VAP)

WiFi communication
WiFi client isolation
Broadcast SSID

Band steering

VLAN ID (for WiFi clients)
Network authentication
Data encryption
Passphrase

802.11w (PMF)

URL tracking

DHCP offer broadcast to
unicast

MAC ACL
Rate limit

Captive portal

Both the 2.4 GHz radio and the 5 GHz radio are enabled.
Disabled

Enabled

Disabled

Automatic band steering includes automatic 802.11k RRM and automatic 802.11v
WiFi network management.

1

WPA2 Personal (which is WPA2-PSK)

AES

sharedsecret

Disabled

Disabled

Enabled

None assigned
None

None

Basic WiFi settings for all WiFi networks (SSIDs or VAPs)

Radios

WiFi mode

Channel width

Output power

Both the 2.4 GHz radio and the 5 GHz radio are enabled.

2.4 GHz radio: 11ng mede, which also supports 11b and 11bg
5 GHz radio: 11ac mode, which also support 11a and 11na

Dynamic 20 / 40 MHz for the 2.4 GHz radio
Dynamic 20 / 40 / 80 MHz for the 5 GHz radio

Maximum (100%)

 

Guard interval Auto
Channel Auto
Factory Default Settings and 237 User Manual

Technical Specifications
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 119 of 121 PagelD #: 328
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

Table 3. Factory default settings (Continued)

Feature Default Setting
WiFi schedule None

Wi-Fi Multimedia (WMM) Enabled

WMM powersave Enabled

Advanced WiFi settings for all WiFi networks (SSIDs or VAPs)

Number of WiFi clients Default: 64 per radio
Maximum: 200 per radio
Beacon interval 100 millisec.
802.11n 256 QAM Disabled for the 2.4 GHz radio (nonconfigurable for the 5 GHz radio)
RTS threshold 2346
DTIM interval 2 sec.
Broadcast/multicast rate Enabled with a limit of 50 packets per second
limiting
MU-MIMO Enabled for the 5 GHz radio (nonconfigurable for the 2.4 GHz radio)
802.11h Disabled for the 5 GHz radio (nonconfigurable for the 2.4 GHz radio)
Load balancing between Disabled
radios
Force sticky clients to Disabled

disassociate

ARP proxy Disabled
Broadcast enhancements Disabled

Data volume limit None

Wireless bridge None configured
General security

URL filtering None

RADIUS servers None configured
Neighbour AP detection Disabled

MAC ACLs None

 

Factory Default Settings and 238 User Manual
Technical Specifications
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 120 of 121 PagelD #: 329
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

Technical specifications

The following table shows the technical specifications of the access point.

Table 4. Technical specifications

Feature

Supported WiFi radio
frequencies and WiFi
modes

Maximum theoretical
throughput

Maximum number of
supported clients

WiFi standards

802.11 security

Operating frequency range

Power over Ethernet

PoE consumption

Description

2.4 GHz band: 802.11ng, 801.11bg, and 802.11b
5 GHz band: 802.11ac, 802.11na, and 802.11a
Supports 2.4 GHz and 5 GHz concurrent operation

About 1300 Mbps simultaneous throughput (400 Mbps on the 2.4 GHz band and
867 Mbps on the 5 GHz band)

Note: Throughput can vary. Network conditions and environmental factors, including
volume of network traffic, building materials and construction, and network overhead,
affect the data throughput rate.

Maximum number of 2.4 GHz WiFi clients: 200 (200 per radio)
Maximum number of 5 GHz WiFi clients: 200 (200 per radio)
Maximum number of clients for the access point: 400 (2 radios)

IEEE 802.1 1ac Wave 2 standard
WiFi Multimedia Prioritization (WMM)
Wireless distribution system (WDS)

WPA3 Personal, WPA3/WPAZ2 Personal (mixed), WPA2 Personal, WPA2/WPA Personal
(mixed), and WPA2 Enterprise

2.4 GHz band:
e US and Canada: 2.412-2.462 GHz

e Europe: 2.412-2.472 GHz
e Australia: 2.412-2.472 GHz
e Japan: 2.412-2.472 GHz

5 GHz band:
e US and Canada: 5.18-5.24 + 5.745-5.825 GHz

e Europe: 5.18-5.24 GHz and DFS (5.25-5.35 + 5.50-5.70)
e Australia: 5.18-5.24 + 5.745-5.825 GHz
e Japan: 5.18-5.24 GHz and DFS (5.26-5.32 + 5.50-5.64)

If you do not use a power adapter, the PoE port requires 802.3af (PoE) power.
PoE might be considered a network environment 0 per IEC TR 62101, and thus the
interconnected ITE circuits might be considered safety extra low voltage (SELV).

9.3W

 

Factory Default Settings and

Technical Specifications

239 User Manual
Case 1:21-cv-01119-UNA Document 1-7 Filed 07/30/21 Page 121 of 121 PagelD #: 330
Insight Managed Smart Cloud Wireless Access Point WAC510 User Manual

Table 4. Technical specifications (Continued)

Feature

Power adapter

(The power adapter is not
included but can be
ordered as an option)

Hardware interfaces

Dimensions (W x D x H)
Weight

Operating temperature
Operating humidity
Storage temperature
Storage humidity

Regulatory compliance US

Regulatory compliance
Canada

Regulatory compliance
Europe

Regulatory compliance
Australia

Description

12 VDC, 2.5A
The plug is localized to the country of sale.

One WAN PoE port and one regular (non-PoE) LAN port, both of which are
10/100/1000BASE-T RJ-45 ports with Auto Uplink (Auto MDI-X).
If you do not use a power adapter, the PoE port requires 802.3af (PoE) power.

7.73.x 7.75 x 1.45 in. (197.32 x 197.32 x 37 mm)

1.22 Ib (555.5 g)

32° to 104°F (0° to 40°C)

10 to 90% maximum relative humidity, noncondensing
-4° to 158°F (-20° to 70°C)

5 to 95% maximum relative humidity, noncondensing

47 CFR FCC Part 15, Subpart B, Class B
ICES-003:2016 Issue 6, Class B

47 CFR FCC Part 15, Subpart C (Section 15.247)
47 CFR FCC Part 15, Subpart E (Section 15.407)
FCC Part 2 (Section 2.1091)

KDB 447498 D03

47 CFR FCC Part 15, Subpart B, Class B
ICES-003:2016 Issue 6, Class B
Canada RSS-247 Issue 1 (2015-05)
Canada RSS-Gen Issue 4 (2014-11)

EN 55032:2012 + AC:2013/CISPR 32:2012

EN 61000-3-2:2014

EN 61000-3-3:2013

EN 55024:2010

EN 300 328 V1.9.1 (2015-02)

EN 301 893 V1.8.1 (2015-03)

EN 50385:2002

EN 50581.2012

EN 50564: 2011

EN 60950-1 2005 (ed.2) + A1:2009 + A2:2013
EN 60950-1:2006 + A11:2009 + A12:2011 + A2:2013

AS/NZS CISPR 32:2013, Class B
AS/NZS 4268:2012 + A1:2013
AS/NZS 4268:2012 + A1:2013
AS/NZS 2772.2:2011

 

Factory Default Settings and

Technical Specifications

240 User Manual
